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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF MISSOURI
                      SOUTHEASTERN DIVISION

THE STATE OF MISSOURI,                       )
ex rel. ANDREW T. BAILEY, in his official    )
capacity as Missouri Attorney General,       )
                                             )
      Plaintiff,                             )
                                             )      Case No. 1:20-cv-00099-SNLJ
v.                                           )
                                             )
THE PEOPLE’S REPUBLIC OF CHINA,              )
THE COMMUNIST PARTY OF CHINA,                )
NATIONAL HEALTH COMMISSION                   )
OF THE PEOPLE’S REPUBLIC OF                  )
CHINA, MINISTRY OF EMERGENCY                 )
MANAGEMENT OF THE PEOPLE’S                   )
REUBLIC OF CHINA, MINISTRY OF                )
CIVIL AFFAIRS OF THE PEOPLE’S                )
REPUBLIC OF CHINA, PEOPLE’S                  )
GOVERNMENT OF HUBEI                          )
PROVINCE, PEOPLE’S GOVERNMENT                )
OF WUHAN CITY, WUHAN INSTITUTE               )
OF VIROLOGY, and    CHINESE                  )
ACADEMY OF SCIENCES,                         )
                                             )
      Defendants.                            )

     PLAINTIFF’S FOREIGN SOVEREIGN IMMUNITY ACT DEFAULT
                        HEARING BRIEF
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                                 INTRODUCTION


      China has inflicted substantial harm on the State of Missouri through its

actions during the COVID-19 pandemic. Whether the virus passed from animals to

humans in a wet market or inadvertently escaped from a viral research lab (as SARS

did in China several times before), it is clear that China knew about the existence,

dangers, and human-to-human transmissibility of COVID-19 long before the rest of

the world. Rather than comply with its moral and legal obligations to share this

information,   China   engaged   in   a    concentrated   campaign    of   deceit   and

misinformation. Although likely aware of the existence of COVID-19 before

November 2019, and certainly aware of the human-to-human transmission of

COVID-19 in November 2019, Defendants repeatedly and loudly denied the

existence, and then transmissibility, of COVID-19 long after they knew their

statements were false. Defendants restricted the spread of any information related

to the virus, and publicly persecuted whistleblowers who tried to share this

information.

      While China and its agents were making these false representations, they were

aggressively buying up the America’s supply of PPE and barring U.S. factories from

shipping PPE to the United States. By the time the world became fully aware of the

scope of the COVID-19 pandemic, it was too late—Defendants had already spent

weeks (if not months) hoarding PPE. The resulting effects of China’s hoarding were

predictable: PPE shortages in the State of Missouri at a time the medical system




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needed the supplies the most, and costs many times higher for those who were able

to acquire the scant supply.

      Reports and previously classified documents and obtained from the federal

government clearly paint this picture. The Department of Homeland Security, for

example, has concluded that “the Chinese Government intentionally concealed the

severity of COVID-19 from the international community . . . while it stockpiled

medical supplies.” The State Department, in a heavily redacted memo, suggests that

Defendants knew about COVID-19 “earlier than they admit” and China’s Chairman

“Xi lied to obfuscate his role in the cover-up.” The Congressional Research Service

agrees, concluding that China nationalized control of U.S. factories to prevent the

export of PPE to the United States and engaged in large-scale purchases of PPE that

“depleted existing supplies in the United States.” To make matters worse, all of these

actions occurred concurrent to (and, indeed, likely in coordination with) Defendants’

long-running campaign to obfuscate and mislead the world on critical information

about the COVID-19 virus and the ballooning pandemic. As the U.S. Office of the

Director of National Intelligence reports, rather than engage in a transparent sharing

of information about the COVID-19 pandemic, Defendants “hinder[ed]” research into

the virus, “resist[ed] sharing information and blame[d] other countries, including the

United States.” All of this was done in an continuing attempt by Defendants to avoid

responsibility for their actions during the early days of the COVID-19 pandemic.

      What cannot be disputed is the incredible cost Defendants’ actions have

imposed on Missouri, including in terms of lives lost, businesses ruined, and other



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effects still felt to this day. In response to these harms, Attorney General Andrew

Bailey, on behalf of the State of Missouri and its citizens, sued The People’s Republic

of China, the Communist Party of China, and other related Defendants to recover

damages for the injuries Defendants’ actions inflicted on the State and its citizens.

Defendants, despite being served by Missouri, refused to appear and answer for their

actions. As a result, each has defaulted on Missouri’s claims against them. That is

not the end of the process, however. Because each Defendant falls under the

provisions of the Foreign Sovereign Immunity Act (“FSIA”), Missouri must still prove

its right to relief by at least “evidence satisfactory to the Court” before a default

judgment may be entered. 28 U.S.C. § 1608(e). Missouri does so here.

      The Eighth Circuit has held that one of Missouri’s original claims satisfies the

jurisdictional bars imposed by the FSIA: the claim that China and the remaining

Defendants hoarded PPE in the early days of the pandemic, both by “[t]aking over

mask-producing factories and buying up a substantial portion of the world’s supply

of personal-protective equipment.” Missouri ex rel. Bailey v. People’s Republic of

China, 90 F.4th 930, 938 (8th Cir. 2024). In other words, that China engaged in

“classic anticompetitive behavior, except on a country-wide scale.” Id. “Then, when

the virus spread and people all over the world became sick, China was able to

maintain its stockpile and prolong the shortage” of PPE in Missouri. Id. at 939. These

actions, in turn, had a direct effect on the State of Missouri and its citizens.

      Missouri now proves its claim. The evidence establishes that Defendants

breached numerous state and federal regulatory and statutory duties preventing the



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kinds of anticompetitive commercial behaviors Defendants engaged in during the

early days of the COVID-19 pandemic. Among this evidence is proof that Defendants

nationalized U.S. factories in China, with Chinese officials directly seizing control of

PPE production and refusing to allow U.S. companies to supply Missouri (and the

rest of the United States) with much-needed masks. This had a predictable effect,

multiplying China’s PPE production several times over while depriving the United

States of production by overseas U.S. companies. At the same time China—despite

being the source of much of the world’s PPE supply—began aggressively purchasing

PPE manufactured or for sale in the United States. On January 30, 2020 alone, China

imported 20 million respirators and surgical masks from the global market. As a

report published by Congress remarked, these efforts likely exacerbated the medical

supply shortages in the United States.

      All of Defendants’ anticompetitive actions were also conducted in the shadow

of repeated their lies and misrepresentations surrounding every aspect of the COVID-

19 pandemic. During much of the period Defendants hoarded PPE, they sought to

distract the world from the dangers of the virus and the need for PPE in the first

place. In fact, Defendants were repeatedly (and falsely) claiming they did not have

any evidence of human-to-human transmission of COVID-19 months after they both

began secretly taking official actions spread of the virus from person to person and

began aggressively punishing whistleblowers who tried to warn the world of the

spread of COVID-19. The effect of this was to allow Defendants additional time to

hoard PPE from an unsuspecting market.



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      Defendants’ actions, furthermore, had direct effects on the State of Missouri.

As the Eighth Circuit noted, “[t]he most basic supply-and-demand principles tell us”

that “China’s market power” meant that the market effects from its campaign to

hoard PPE “depended little, if at all, on variables independent of the defendants’

conduct given the information asymmetry and tight timeframe that existed at the

time.” Id. (internal quotation marks omitted).

      Furthermore, Defendants’ hoarding of PPE through anticompetitive actions,

misrepresentations, and outright fraud has inflicted direct and catastrophic damages

on Missouri. Missouri provides herein comprehensive evidence of the damages the

State and its citizens suffered from Defendants’ actions, damages to which it is

entitled to recover jointly and severally through a judgment against Defendants.

Calculating the harm inflicted upon Missouri and its citizens through an examination

of a loss of state GDP, the data shows that Defendants’ actions caused Missouri to

lose over $23 billion in GDP during the relevant time period. Missouri itself directly

lost approximately $700 million in state revenue during the relevant time period, a

number that increases up to $15 billion when projected into the future. Finally,

Missouri presents direct evidence showing that, by even the most conservative (and

likely under-inclusive) estimate, Missouri’s reports and data show that the State

spent over $122 million on PPE-related expenses in only a portion of 2020 alone.

      Missouri has satisfied the requirements of the FSIA and the Eighth Circuit’s

Missouri ex rel. Bailey decision, and may therefore receive a judgment in default




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against each Defendant. This Court should enter a judgment holding Defendants in

default and award Missouri civil damages against all Defendants.


                            FACTUAL BACKGROUND


I.    The Parties.

      A.     Plaintiff the State of Missouri.

      Plaintiff the State of Missouri is a sovereign state. Missouri brings this action

to vindicate the State’s injuries to its own economic and proprietary interests the

State has directly suffered due to the actions of Defendants. Compl., ECF 1 at ¶ 13.

Missouri also brings this action as parens patriae on behalf of all Missouri citizens,

to vindicate general injuries inflicted on Missouri citizens caused by Defendants. Id.

at ¶ 14. As a sovereign State, Missouri has “a quasi-sovereign interest in the health

and well-being—both physical and economic—of its residents in general.” Alfred L.

Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 607 (1982). Missouri,

through its Attorney General, may act as “a representative of the public” in

“complaining of a wrong which, if proven, limits the opportunities of her people [and]

shackles her industries.” Id. At 606.

      Andrew Bailey is the Attorney General of Missouri. Under Missouri law, “[t]he

attorney general shall institute, in the name and on behalf of the state, all civil suits

and other proceedings at law or in equity requisite or necessary to protect the rights

and interests of the state, and enforce any and all rights, interests or claims against

any and all persons, firms or corporations in whatever court or jurisdiction such

action may be necessary; and he may also appear and interplead, answer or defend,


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in any proceeding or tribunal in which the state’s interests are involved.” Mo. Rev.

Stat. § 27.060.

      B.     Defendants the People’s Republic of China and the Communist
             Party of China.

Defendant the People’s Republic of China

      Defendant People’s Republic of China (“PRC” or “China”) is a sovereign nation

in Asia. “The People’s Republic of China is the country’s officially recognized

government.” State of Missouri ex rel. Bailey v. People’s Republic of China, 90 F.4th

930, 934 (8th Cir. 2024).

Defendant the Communist Party of China

      Defendant Communist Party of China (“CPC” or “Communist Party”) is a

political body which “‘exercise[s] direction and control over the actions of all other

Defendants,’ including China’s official government.” Missouri ex rel. Bailey, 90 F.4th

at 935 (quoting Samantar v. Yousuf, 560 U.S. 305, 314 (2010)). Given the Communist

Party’s role, “it is in substance the same body politic that governs [China].” Id.

(internal quotation marks omitted).

      A stated goal of the CPC is “to ‘guide public opinion’ through censorship as well

as controlling and shaping the flow and content of information available to the

public.”1 The CPC views this censorship as “an essential element” of what it calls

“‘ideological work’ or ‘thought work.’”2 “[S]cience, like most fields of professional


1 Marco Rubio, A Complex and Grave Situation: A Political Chronology of the SARS-

COV-2 Outbreak 130 (2023) (hereinafter “Political Chronology Report”) (collecting
sources)
2 Ibid.




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endeavor in China, is thoroughly permeated by [CPC] political influence and varying

degrees of direct control, particularly at state-run research institutions such as the

[Chinese Academy of Science] and the [Wuhan Institute of Virology].”3

      C.     Defendants the Wuhan Institute of Virology and Chinese
             Academy of Science

Defendant Wuhan Institute of Virology

      Defendant Wuhan Institute of Virology is “an institute under the auspices of

the Chinese Academy of Sciences” and hosts “China’s first high containment [virus]

laboratory.”4 As commentators have noted, “[t]he WIV maintains a collaborative

relationship with the [People’s Liberation Army Academy of Military Sciences (“PLA

AMMS”)] that is routine and robust, which can be seen from its professional research

publications.”5 Furthermore, “[d]espite the WIV presenting itself as a civilian

institution, the United States has determined that the WIV has collaborated on

publications and secret projects with China’s military” and “has engaged in classified

research, including laboratory animal experiments, on behalf of the Chinese military

since at least 2017.”6

Defendant Chinese Academy of Science

      Defendant Chinese Academy of Sciences (CAS) is the national academy of the

natural sciences for the PRC and describes itself as “the linchpin of China’s drive to


3 Id. at 81 (collecting reports and examples).
4 AMEMBASSY Beijing Unclassified Memorandum, “China Opens First Bio Safety

Level 4 Laboratory” (Jan. 19, 2018).
5 Political Chronology Report at 33.
6 U.S. State Dep’t, Fact Sheet: Activity at the Wuhan Institute of Virology (Jan. 15,

2021).


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explore and harness high technology and the natural sciences for the benefit of

China.”7 “Through its network of research institutes, universities, companies, and

think tanks, CAS is a core component of China’s science and technology innovation

ecosystem.”8

The relationships between the Chinese military, Defendant PRC, Defendant CPC,
Defendant WIV, and Defendant CAS

      The relationships between the Chinese military and Defendants WIV and CAS

are consistent with Defendants PRC and CPC’s long-held goal, expressed by their

Chairman Xi Jinping, “to ‘deepen the advancement of military-civil fusion

development research’” in order “to better incorporate the PLA’s research goals into

the work of the CAS.”9 All of this works towards Defendants’ ultimate goal of

“‘bring[ing] into full effect the potential of the Chinese Academy of Sciences, high-

ranked universities and colleges, and civilian and private enterprises in order to

achieve the military use of civilian [resources] to the maximum degree.’”10 “[S]tarting

in spring of 2018 and continuing into [at least] 2019,” the WIV and other CAS

research institutes “likely experienced a growing presence of the PLA and

prioritization of its research agenda.”11 WIV regularly holds “political study sessions”




7 “About   Us,” Chinese Academy of Sciences, available at: http://english.cas.cn/
about_us/introduction/201501/t20150114_135284.shtml.
8 McFaul, C., et al., Fueling China’s Innovation: The Chinese Academy of Sciences and

its Role in the PRC’s S&T Ecosystem, Center for Security and Emerging Technology
(October 2024).
9 Id. at 45.
10 Id. at 46.
11 Ibid.




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which bring “into clear focus the state-run nature of the WIV, including its obligations

to meet goals set by the central [CPC] authorities in Beijing.”12

       PRC and CPC leadership, likewise, specifically view WIV and the work WIV

performs as extensions of the Communist Party and the Chinese State. In April 2019,

He Changcai, the deputy secretary of the CPC committee at WIV, issued a speech

during a gathering of WIV personnel instructing “that WIV researchers were

accountable to both the [CPC] and the [PRC].”13 The Eighth Circuit has held that

both WIV and CAS are “organs” of Defendant PRC. State of Missouri ex rel. Bailey,

90 F.4th at 935.

       D.       All Remaining Defendants.

       Defendants the National Health Commission of the People’s Republic of China,

the Ministry of Emergency Management of the People’s Republic of China, the

Ministry of Civil Affairs of the People’s Republic of China, the People’s Government

of the Hubei Province, and the People’s Government of Wuhan City are each “political

subdivisions” of Defendant PRC. Missouri ex rel. Bailey, 90 F.4th at 935.

II.    Origins of the COVID-19 Virus and Defendants’ Suppression of
       Information

       A.       The Origins of COVID-19

       Federal agencies and the intelligence community remain “divided on the most

likely origin of COVID-19.”14 This division centers on the two hypotheses most likely


12 Id. at 54.
13 Id. at 74.
14 Off. of the Dir. of Nat’l Intel, Unclassified Summary of the Intelligence Community

Assessment       on   COVID-19     Origins     (Aug.    27,   2021),    available    at


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to explain the origin of COVID-19: “natural exposure to an infected animal and a

laboratory-associated incident.”15

      Either theory demonstrates: (1) that Defendants held specialized knowledge

about the existence and transmissibility of COVID-19 long before the rest of the

world; and (2) knew that Defendants’ oft-repeated representations to the contrary

early in the pandemic were false. The lab leak theory goes even farther. The theory,

if correct, conclusively demonstrates that Defendants were directly (if most likely

accidentally) responsible for the initial COVID-19 outbreak and likely had extensive

knowledge about its existence and spread since the beginning. Although “China’s

cooperation most likely would be needed to reach a conclusive assessment,”

Defendants “continue[] to hinder the global investigation, resist sharing information

and blame other countries, including the United States.”16

           i.   The Wuhan Seafood Market and the Natural Vector Theory

      When news of the pandemic first broke, “Chinese authorities reported that

many cases had occurred” in the Huanan Seafood Market, also known as a “wet

market – a place selling wild animals for meat – in Wuhan.”17 The Natural Vector

Theory posits that COVID-19 spread to humans from either a “direct or intermediate

host[] such as avians, bats, bovines, camels, canines, civets, felines, murines, and


https://www.dni.gov/index.php/newsroom/reports-publications/reports-publications-
2021/3562-unclassified-summary-of-assessment-on-covid-19-origins.
15 Ibid.
16 Ibid.
17 Nicholas Wade, The Origin of COVID: Did People or Nature Open Pandora’s Box at

Wuhan?, Bulletin of the Atomic Scientists (May 5, 2021), https://thebulletin.org/
2021/05/the-origin-of-covid-did-people-or-nature-open-pandoras-box-at-wuhan/.


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procines.”18 The Huanan Seafood Market in the city of Wuhan houses many animals

live for human consumption, and therefore is assumed by the theory to be the source

of the initial transmission from animals to humans.19 The U.S. National Institute of

Health, while acknowledging that “the origin of the SARS-CoV-2 which caused the

COVID-19 pandemic has not been identified,” believes that the evidence thus far

“suggests that SARS-CoV-2 likely resulted from viral evolution in nature and jumped

to people or through some unidentified animal host.”20

      But researchers analyzing samples from the Wuhan Seafood Market, including

samples taken from stalls selling various animals, have been unable to establish any

spillover from animals to humans at the Wuhan Seafood Market.21 On the contrary,

the researchers acknowledged that “[i]t remains possible that the market may have

acted as an amplifier of transmission owing to the high number of visitors every day,

causing many of the initially identified infection clusters in the early stages of the

outbreak.”22 Another team of researchers, analyzing data of animals sold in all

Wuhan wet markets in 2018 and 2019, established that “no pangolin or bat species




18 Rui Dong, et al., Analysis of the Hosts and Transmission Paths of SARS-CoV-2 in

the COVID-19 Outbreak, 11 Genes 637 (June 9, 2020).
19 William J. Liu, et al., Surveillance of SARS-CoV-2 at the Huanan Seafood Market,

Nature, July 11 2024 at 402.
20 Origins of Coronaviruses, National Institute of Health: National Institute of Allergy

and Infectious Diseases (Mar. 16, 2022), https://www.niaid.nih.gov/diseases-
conditions/origins-coronaviruses.
21 William J. Liu, et al., Surveillance of SARS-CoV-2 at the Huanan Seafood Market,

Nature, July 11 2024 at 402.
22 Ibid.




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were among th[ose] animals for sale” in any of the markets.23 As a result, the

researchers stated that “the original source of COVID-19 does not seem to have been

established.”24

      On January 24, 2020, a team of Chinese researchers published an

epidemiological study that examined a sample of 41 hospital patients admitted in

Wuhan in December 2019 and which laboratory studies later confirmed were

diagnosed with COVID-19.25 Two points of data stand out. First, from only 41 cases

analyzed by the report, the researchers were able to show that COVID-19 was

circulating in Wuhan at least as early as December 1, 2019.26 Second, the data

demonstrates that, of the confirmed COVID-19 cases that occurred before December

11, 2019, three of the four diagnosed cases had no exposure to the Huanan seafood

market at the center of the natural vector theory.27 In other words, either the early

spread of COVID-19 was largely not centered around the seafood market, or even

before December 11, 2019, the virus had been spreading among the population in

Wuhan sufficiently long that the majority of cases were no longer tied to that market.

A February 2022 study conducted by a team of Chinese epidemiologists similarly

concluded that samples collected from environmental surfaces and animals in the

Huanan Seafood Market could not establish whether “the animals were infected” or


23 Xiao Xiao, et al., Animal sales from Wuhan wet markets immediately prior to the

COVID-19 pandemic, Scientific Reports, at 3 (2021).
24 Ibid.
25 Chaolin Huang, Yeming Wang, et al., Clinical features of patients infected with

2019 novel coronavirus in Wuhan, China, 395 The Lancet 497, 497–506 (2020).
26 Ibid.
27 Ibid.




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whether the virus was introduced to the Huanan Seafood market “through infected

humans.”28

      Outside researchers have come to a similar result, concluding that “there is no

evidentiary basis” for the theories that “COVID-19 emerged via zoonosis in the wild

or spillover in a wet market . . . despite extensive testing [of those theories] over four

years.”29

            ii.   Coronavirus research at the WIV and the lab leak theory

      The chief competing theory for the initial spread of COVID-19 is that a lab

accident caused it to leak from a virology lab in WIV, where the virus was being

studied. Several federal agencies have assessed COVID-19 was likely “the result of a

lab accident in Wuhan, China,” including the FBI (which has “moderate confidence”

in this theory)30 and the Department of Energy.31 Outside researchers studying the

early days of the COVID-19 pandemic have similarly concluded “that the COVID-19



28 George Fu Gao, et al., Surveillance of SARS-CoV-2 in the Environment and Animal

Samples of the Huanan Seafood Market, Research Square, pre-print, pg. 1–9 (Feb. 25,
2022), https://assets-eu.researchsquare.com/files/rs-1370392/v1_covered.pdf?c=
1645813311.
29 John Ratcliffe, Holding China Accountable for Its Role in the Most Catastrophic

Pandemic of Our Time: COVID-19, Heritage Found., 13 (July 8, 2024) (hereinafter
“Most              Catastrophic               Pandemic             of           Our
Time Report”), https://www.heritage.org/china/report/holding-china-accountable-its-
role-the-most-catastrophic-pandemic-our-time-covid-19.
30 Hannah Rabinowitz, FBI Director Wray acknowledges bureau assessment that

Covid-19 likely resulted from lab incident, CNN (Mar. 1, 2023), https://www.cnn.com
/2023/02/28/politics/wray-fbi-covid-origins-lab-china/index.html.
31 Jeremy Herb & Natasha Bertrand, US Energy Department assesses Covid-19 likely

resulted from lab leak, furthering US intel divide over virus origin, CNN (Feb. 27,
2023), https://www.cnn.com/2023/02/26/politics/covid-lab-leak-wuhan-china-
intelligence/index.html


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pandemic very likely stemmed from a research-related incident in Wuhan, China.”32

Although “[t]he Chinese government has obscured much of the relevant record and

obstructed all credible international efforts to investigate the origin of the virus, . . .

the available evidence strongly supports a research-related accident.”33

       This conclusion is based in part on the fact that, “[w]hile Wuhan is far from

the natural habitat of the relevant horseshoe bats and from the animal distribution

channels that were linked to the 2003 SARS outbreak, it somehow managed to be the

one city where the virus emerged, with no known independent introduction anywhere

else.”34 Although Wuhan does not have natural habitats or animal distribution

channels, it does have “a leading center for Chinese virology research” that is “home

to multiple virology and public institutes, including [Defendant WIV].”35

       The WIV itself has long been plagued by breaches in lab safety standards. As

far back as January 2011, “an inspection of WIV laboratories working with pathogens

discovered that some research groups and support departments did not meet the

standards in certain areas and had hidden safety dangers with the storage of

bacterial and viral samples and aspects of their experimental activities.”36

Defendants were well aware of this long history of WIV lab safety failures. As

commentators have observed, “the unsafe storage of bacterial and viral samples

emerged as a theme of concern in 2019 and 2020, which was raised by [CPC]


32 Most Catastrophic Pandemic of Our Time Report at 13.
33 Ibid.
34 Id. at 14.
35 Ibid.
36 Political Chronology Report at 40–41.




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leadership at the WIV as well as in a central directive issued to all BSL-3 and BSL-4

labs after the pandemic began.”37

       As early as at least 2015, some scientists had begun to sound the alarm over

concerns surrounding ongoing experiments in China “that created a hybrid version

of a bat coronavirus . . . related to the virus that causes SARS . . . with possible

pandemic potential.”38 As one molecular biologist and viral expert put it, “[t]he only

impact of this work is the creation, in a lab, of a new, non-natural risk.”39 These

concerns by some scientists of “pathogens escaping” from WIV have been repeatedly

raised in the years since, including when WIV’s BSL-4 laboratory opened in 2017.40

These concerns are not just limited to scientists: the U.S. State Department has

warned that “[s]cientists in China have researched animal-derived coronaviruses

under conditions that increased the risk for accidental and potentially unwitting

exposure.”41 These concerns are also not without historical precedence. The PRC has

a long history of viral lab leaks, which have previously resulted in limited community

spread and at least some deaths. The SARS virus, for example, “escaped from high-

level containment facilities in Beijing multiple times.”42 In fact, the SARS virus has



37 Id. at 41.
38 Declan Butler, Engineered Bat Virus Stirs Debate over Risky Research, Nature

(Nov. 12, 2015), https://www.nature.com/articles/nature.2015.18787.
39 Ibid.
40 David Cyranoski, Inside the Chinese Lab Poised to Study the World’s Most

Dangerous Pathogens, Nature, at 399–402 (Feb. 23, 2017).
41 U.S. State Dep’t, Fact Sheet: Activity at the Wuhan Institute of Virology (Jan. 15,

2021).
42 David Cyranoski, Inside the Chinese Lab Poised to Study the World’s Most

Dangerous Pathogens, Nature, at 399–402 (Feb. 23, 2017).


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escaped “no less than four times from the Chinese National Institute of Virology in

Beijing,”43 causing “limited community spread.”44

      Defendants were well aware of the risks and concerns with their behavior. WIV

BSL-4 Laboratory Director Yuan Zhiming not only oversaw the WIV’s most

dangerous viral research, but also was the long-serving President of the Wuhan

branch of Defendant CAS, was the director of the Wuhan National Biosafety

Laboratory, and holds a political role in Defendants PRC and CPC leadership as a

member of the Chinese People’s Political Consultative Conference. 45 Yuan’s

conclusions on the WIV lab safety standards, performed in his official capacity as a

key officer of several Defendants to this lawsuit, are stark. On the WIV’s new BSL-4

facility, his team noted that “[c]ertain problems exist with aspects of the building and

management of [Defendant PRC’s] system of high-level biosafety laboratories.”46

Although the BSL-4 laboratory was already in operation and studying some of the

world’s most deadly viruses, he concluded that the “management and maintenance of

[the WIV BSL-4 laboratory’s] key equipment and the personnel’s mastery of the

standardized operating procedures” were “not mature enough.”47 Yuan would

continue to repeat these warnings over the coming years, in October 2018 again

warning that “it is urgent to establish and implement standardized management


43 Nicholas Wade, The Origin of COVID: Did People or Nature Open Pandora’s Box at

Wuhan?, Bulletin of the Atomic Scientists (May 5, 2021), https://thebulletin.org/
2021/05/the-origin-of-covid-did-people-or-nature-open-pandoras-box-at-wuhan/.
44 Political Chronology Report at 39.
45 Id. at 56–57.
46 Id. at 57.
47 Ibid.




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measures for biosafety laboratories . . . as soon as possible.”48 Defendants appear to

have ignored these warnings.

       Despite these well-publicized concerns, Defendant’s interest in risky

coronavirus research at WIV did not stop there. In March 2018, New York-based

EcoHealth Alliance, in partnership with the WIV, submitted a proposal requesting

$14.2 million “for a study that would take the most interesting spike proteins that

the WIV collected from unpublished SARS-related coronaviruses . . . and create full-

length infectious clones that they would test in human airway cultures and

transgenic mice expressing the human ACE2 receptor.”49 “Among the scientific tasks”

described in this proposal “was the creation of full-length infection clones of bat

SARS-related coronaviruses and the insertion of a tiny part of the virus known as a

“proteolytic cleavage site” into the bat coronaviruses.”50 “Of particular interest” to

this grant request “was a type of cleavage site able to interact with furin, an enzyme

expressed in human cells.”51 “Since the genetic code of the coronavirus that caused

the pandemic was first sequenced, scientists have puzzled over the ‘furin cleavage

site’”—also referred to as “FCS”—a “strange feature on the spike protein of the virus

[that] had never been seen in SARS-related betacoronaviruses, the class to which

SARS-CoV-2, the coronavirus that causes respiratory illness Covid-19, belongs.”52


48 Id. at 56–57.
49 Id. at 48.
50  Sharon Lerner & Maia Hibbett, Leaked Grant Proposal Details High-Risk
Coronavirus Research, The Intercept, (Sept. 23, 2021), https://theintercept.com/
2021/09/23/coronavirus-research-grant-darpa/.
51 Ibid.
52 Ibid.




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Furthermore, “there is published evidence that the [WIV] was already engaged in

some of the genetic engineering work described in the proposal.”53 Indeed, the U.S.

National Institute of Health acknowledged that certain 2018 and 2019 experiments

conducted at WIV and funded through EcoHealth Alliance, had the “unexpected

result” of “creating a coronavirus that was more infectious in mice.”54

       Part of what makes the SARS-CoV-2 virus unique is that it “contains distinct

features and attributes” not found in nature and which “suggest a research-related

origin.”55 One key example of this is the aforementioned molecular structure of the

polybasic furin cleavage site found in the spike protein of SARS-CoV-2—the same

type of protein site referenced in the EcoHealth Grant. This polybasic furin cleavage

site found in the site protein “has never been observed in another SARS-related

coronavirus of the sarbecovirus lineage”—something “widely regarded by virologists

as the virus’s most intriguing molecular feature.”56 “The spike protein . . . plays a key

role in SARS-CoV-2 infectivity.”57 Australian and British researchers, similarly,

concluded that the spike protein of SARS-CoV-2 exhibited a higher binding to the


53 Ibid.
54 Jocelyn Kaiser, NIH says grantee failed to report experiment in Wuhan that created

a bat virus that made mice sicker, Science (Oct. 21, 2021), https://www.science.org/
content/article/nih-says-grantee-failed-report-experiment-wuhan-created-bat-virus-
made-mice-sicker.
55 Most Catastrophic Pandemic of Our Time Report at 14.
56 Political Chronology Report at 206–07; see also Gary R. Whittaker, SARS-CoV-2

Spike and its Adaptable Furin Cleavage Site, 2 The Lancet Microbe e488 (2021),
https://www.thelancet.com/journals/lanmic/article/PIIS2666-5247(21)00174-
9/fulltext.
57 Sakshi Piplani, et al., In Silico Comparison of SARS-CoV-2 Spike Protein-ACE2

Binding Affinities Across Species and Implications for Virus Origin, 11 Scientific
Reports 1 (June 24, 2021).


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ACE2 receptor of human cells than to the similar receptor of any other animal cells.58

As the researchers explained, “this finding was surprising as a zoonotic virus

typically exhibits the highest affinity initially for its original host species, with lower

initial affinity to receptors of new host species until it adapts.”59 As a result, some

virologists have concluded that “[t]here is a strong case to be made that the pandemic

virus emerged from research in Wuhan where scientists had proposed to insert furin

cleavage sites into novel SARS-like coronaviruses.”60

       As a result, WIV coronavirus expert “Shi Zhengli’s research team at the WIV

would have been familiar with past experiments involving the successful insertion of

an FCS sequence into SARS-CoV-1 and other coronaviruses, and they had ample

experience of their own with the construction of chimeric SARS-like viruses.”61 In

fact, as recently as 2019, Shi Zhengli and others partnered with PRC’s People’s

Liberation Army Acamdey of Military Sciences scientists to experiment with

coronavirus entry into “human cells” and study the “[m]olecular mechanism for

antibody-dependent enhancement of coronavirus entry.”62

       Shi was far from the only researcher engaged in risky coronavirus research at

the WIV in 2019. “SARS-CoV0-2 is a beta-coronavirus that binds to the human ACE2




58 Ibid.
59 Id. at 3.
60 Most Catastrophic Pandemic of Our Time Report at 15.
61 Political Chronology Report at 49.
62 Yushun Wan, et al., Molecular Mechanism for Antibody-Dependent Enhancement

of Coronavirus Entry, 94 J. Virology e2015-09 (2020); Political Chronology Report at
33.


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receptor with greater affinity than SARS-CoV-1.”63 In 2018, “WIV coronavirus

researcher Hu Ben also reportedly received funding” from “the state-funded Natural

National Science Foundation of China (NNSFC) to conduct a study starting in

January 2019 that would examine the ‘pathogenicity of two new bat SARS-related

CoVs to transgenic mice expressing human ACE2.’”64 “Hu’s study was slated to

conclude in December 2021, but no findings have been published to date.”65 It appears

that all reference to Hu’s research has been scrubbed from the NNSFC website “since

the spring of 2020”—the same time Defendants were obfuscating information on the

origin and spread of COVID-19.

       As Richard Ebright, a molecular biologist at Rutgers University, explained,

“[t]he relevance of this” research at WIV “is that SARS Cov-2, the pandemic virus, is

the only virus in its entire genus of SARS related coronaviruses that contains a fully

functional cleavage site at the S1, S2 junction. . . . And here is a proposal from the

beginning of 2018, proposing explicitly to engineer that sequence at that position in

chimeric lab-generated coronaviruses.”66 In other words, “[t]he work describes

generating full-length bat SARS-related coronaviruses that are thought to pose a risk

of human spillover. And that’s the type of work that people could plausibly postulate

could have led to a lab-associated origin of SARS-CoV-2.”67


63 Political Chronology Report at 63.
64 Ibid.
65 Ibid.
66  Sharon Lerner & Maia Hibbett, Leaked Grant Proposal Details High-Risk
Coronavirus Research, The Intercept, (Sept. 23, 2021), https://theintercept.com/
2021/09/23/coronavirus-research-grant-darpa/.
67 Ibid.




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      Besides Dr. Ebright’s concerns about creating a chimeric, lab-generated

coronavirus, reports and scientific studies demonstrate that WIV also lacked

appropriate safety measures to conduct coronavirus research. “There are four

biosafety levels that are implemented and defined by the CDC.”68 Biosafety Lab 3

(BSL-3) labs are the minimum safety precaution level for biohazardous agents that

“may cause serious or lethal disease through respiratory transmission” and differ

from BSL-2 labs “by the nature of transmission of hazardous agents.”69 In this

respect, the coronavirus research coming out of WIV revealed an incredibly

concerning trend. Articles published by WIV researchers demonstrated that risky

virus research, including research into “bat viruses,” was performed at WIV in BSL-

2 labs—the “second-lowest level of laboratory biosafety.”70 Indeed, much of the

research into coronaviruses, including research performed at WIV between 2016 and

2019, occurred in a BSL-2 lab.71 This meant that WIV researchers were performing

state-run coronavirus research in Wuhan “under conditions that . . . matched the

biosafety level of a US dentist’s office.”72 Work performed in labs with a safety

equivalence of a dentist’s office included “making chimeras” with eight SARS-like


68 Lisa  Ta, et al., Biosafety and Biohazards: Understanding Biosafety Levels and
Meeting Safety Requirements of a Biobank, Methods Molecular Biology (Dec. 12,
2018).
69 Ibid.
70 Aksel Fridstrom, Chinese researchers created new corona viruses under unsafe

conditions, Minerva (May 27, 2021), https://www.minerva.no/china-drastic-sars-cov-
2/chinese-researchers-created-new-corona-viruses-under-unsafe-conditions/381476.
71 Rowan Jacobsen, Inside the risky bat-virus engineering that links America to

Wuhan, MIT Tech. Rev. (June 29, 2021), https://www.technologyreview.com/2021/06/
29/1027290/gain-of-function-risky-bat-virus-engineering-links-america-to-wuhan/.
72 Ibid.




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coronaviruses, “two of [which] replicated well in human cells.”73 In other words, WIV

was, “for all intents and purposes,” creating “brand-new pathogens.”74

       Defendants’ public statements also suggest WIV’s risky coronavirus research

was ongoing up until (at least) the weeks or months before evidence of human-to-

human transmission of COVID-19 began appearing in Wuhan. On August 31 and

September 1, 2019, researchers gathered in Beijing to discuss progress on a major

state-run research project to study zoonotic diseases that cross the species barrier to

infect humans—a description that would include COVID-19.75 At the conference Tan

Wenjie, who holds concurrent appointments with Defendant WIV and the PRC

People’s Liberation Army General Hospital in Wuhan, spoke on “the project team’s

important advancements … since the launch of the project to study cross-species

infection and transmission” of “pathogens such as coronaviruses.”76

       Indeed, in a rare moment of candor, Dr. Shi—the virologist who performed

much of the coronavirus research at WIV—admitted to a journalist that she “never

expected this kind of thing to happen in Wuhan,” and, when she heard of the spread

of the virus, “remember[ed] thinking, ‘could [the virus] have come from our lab?’”77

Dr. Shi later attempted to publicly retract these statements.78




73 Ibid.
74 Ibid.
75 Political Chronology Report at 95.
76 Political Chronology Report at 96.
77 Jane Qiu, How China’s ‘Bat Woman’ Hunted Down Viruses from SARS to the New

Coronavirus, Sci. Am. (June 1, 2020), https://www.scientificamerican.com/article/
how-chinas-bat-woman-hunted-down-viruses-from-sars-to-the-new-coronavirus1/.
78 Political Chronology Report at 173.



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       B.        The Initial Spread of COVID-19

            i.     Defendants, suddenly and without warning, restrict access to
                   WIV’s viral pathogen database.

       Defendants’ pattern of aggressive actions to suppress any information on

COVID-19 likely began as early as September 2019. Prior to the outbreak of the

pandemic, WIV hosted an online depository of data on viral sequences called “the

Wildlife-Borne Viral Pathogen Database.”79 In the early morning hours of September

12, 2019, WIV, without warning, took down its online viral database.80 Years later,

the database—excepting brief, intermittent accessibility in late January and early

February 2022—still remained offline.81

       It is not an understatement to say that Defendants’ actions to take down the

database are surprising unless viewed in the context of suppressing information

about COVID-19. The database is “the most important BatCoV database in China,”

holding “more than 22,000 samples and sequences records” of viral “samples and

sequences from the WIV.”82 It is because of this wealth of knowledge, knowledge

which included over 15,000 viral samples collected from bats, including some which

were “sequences of bat beta-coronaviruses gathered by the WIV … [not] made public,”

that researchers believe the collection is “potentially the best database for


79 Id. at 102.
80 Charles Small, et al., An Investigation into the WIV Databases that Were Taken

Offline, at 1 (preprint Feb. 2021), https://www.researchgate.net/publication/
349073738_An_investigation_into_the_WIV_databases_that_were_taken_offline.
81 Political Chronology Report at 102.
82 Charles Small, et al., An Investigation into the WIV Databases that Were Taken

Offline, at 1 (preprint Feb. 2021), https://www.researchgate.net/publication/
349073738_An_investigation_into_the_WIV_databases_that_were_taken_offline.


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investigating whether the theory of natural spillover of SARS-CoV-2 is plausible.”83

“[A]t least 500” of these viral samples were “recently discovered bat coronaviruses,

and at least 50 of these [are] close to SARS.”84

       Defendants’ stated reasons to take the database down have continually shifted.

Before Defendants acknowledged the transmission of COVID-19 (but after they had

evidence of its human-to-human transmission), the stated reason was “to prevent

cyber security attacks”; after they acknowledged the COVID-19 pandemic, the reason

was simply that the database was taken offline “during the Covid-19 pandemic.”85

Data scientists have remarked that Defendants’ excuses “do not make any sense since

the main database was taken offline on the 12 Sep. 2019, 3 months at least before the

[reported] start of the pandemic.”86 In other words, “either the reason given for taking

the database off is not correct (which raises more questions), or the statement points

at an outbreak in Sep 2019.”87

       Defendants’ actions are especially concerning because, according to data

science researchers, the WIV database “holds essential information on SARS-CoV-2

origins.”88 As Defendants are certainly well aware, “blocking access to these samples

and related sequences is a very effective obstruction of scientific efforts to investigate

the origin of SARS-CoV-2.”89 Researchers have called the database “potentially the


83 Ibid.
84 Ibid.
85 Ibid.
86 Ibid.
87 Ibid.
88 Ibid.
89 Ibid. (emphasis added).




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best database for investigating whether the theory of natural spillover of SARS-CoV-

2 is plausible.”90 Various WIV officials (along with others who work closely with WIV)

have continued to provide “repeated contradictions . . . about the reasons” for the

removal of the vaccine database in September 2019.91

           ii.   Evidence suggests COVID-19 may have begun to spread among
                 WIV researchers and residents of Wuhan in September,
                 October, and November 2019.

       Defendants refused to publicly admit the existence of the COVID-19 virus until

December 31, 2019,92 and affirmatively denied human-to-human transmissibility of

the virus until January 20, 2020.93 Numerous independent sources of evidence—

including from Chinese researchers on the ground, PRC government reports, and

state actions taken by Defendants—demonstrate that Defendants knew about the

existence and spread of COVID-19 long before publicly admitting it. The

overwhelming evidence demonstrates that Defendants repeatedly and knowingly

affirmatively misrepresented the existence and (critically) human-to-human

transmission of the virus.

       Professor Yu Chuanhua, a professor of biostatistics at Wuhan University, told

the Chinese medical journal Health Times that he had access to a national database

that included at least one suspected COVID-19 fatality of a patient who fell ill on




90 Ibid.
91 Ibid.
92 Political Chronology Report at 132.
93 Id. at 158.




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September 29, 2019.94 This patient, identified by their name and address, lived more

than 13 miles from the Huanan seafood market. Professor Yu also noted additional

suspected cases reported to Wuhan doctors in November 2019.95 Professor Yu

attempted to retract his statement only two days after it was made.96

      Reports and statements published by the United States government and its

intelligence services support Professor Yu’s brief moment of transparency. The

United States State Department has stated that it “has reason to believe that several

researchers inside the WIV became sick in autumn 2019, before the first identified

case of the outbreak,” with symptoms consistent with COVID-19.97 Expanding on this

conclusion, U.S. intelligence reports state that at least three WIV researchers

“became sick enough in November 2019 that they sought hospital care” with

symptoms consistent with a possible COVID-19 infection.98 But despite repeated calls

for transparency, WIV “hasn’t shared raw data, safety logs and lab records on its

extensive work with coronaviruses in bats” with any person outside of the control of

the PRC.99 It also contradicts past statements of Shi Zhengli, “the top bat coronavirus




94  Ian Birrell, Is ‘Patient Su’ Covid’s Patient Zero?, Daily Mail (May 30, 2021),
https://www.dailymail.co.uk/news/article-9632921/Is-Patient-Su-Covids-Patient-
Zero-asks-IAN-BIRRELL.html.
95 Ibid.
96 Ibid.
97 U.S. State Dep’t, Fact Sheet: Activity at the Wuhan Institute of Virology (Jan. 15,

2021).
98 Michael R. Gordon, et al., Intelligence on Sick Staff at Wuhan Lab Fuels Debate on

Covid-19 Origin, Wall St. J. (May 23, 2021), https://www.wsj.com/articles/intelligence
-on-sick-staff-at-wuhan-lab-fuels-debate-on-covid-19-origin-11621796228.
99 Ibid.




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expert at WIV,” who claimed that “all staff had tested negative for Covid-19

antibodies and there had been no turnover of staff on the coronavirus team.”100

       CPC authorities in the local governments administrating WIV also began

certain administrative measures around this time consistent with responding to the

outbreak of a novel coronavirus. On September 18, 2019, the Wuhan Municipal

Customs Administration cooperated with WIV and the Hubei Provincial Health

Authority to hold an “emergency response drill activit[y]” at the Wuhan Tianhe

International Airport that “simulated in real combat style … the whole process of

handling the discovery of one case of a novel coronavirus infection at the airport

customs lane.”101 It has been observed that “it appears that only Wuhan had

specifically drilled for a ‘novel coronavirus’ as a scenario for which to prepare.” 102

Around this time, Hubei Province (of which Wuhan is the capital) began

“dramatic[ally] increase[ing]” its pathogen detection equipment, both in “total

contract value and number of contracts.”103 Hubei Province’s spending on PCR

equipment, for example, nearly doubled from 36.7 million RMB in 2018 to 67.36

million RMB in 2019—an amount higher than the sum of the previous two years

combined.104 Based on this data, Researchers have “conclude[d] that a significant

increase in spending in PCR equipment correlates to the spread of COVID-19” and


100 Ibid.
101 Political Chronology Report at 104.
102 Id. at 105.
103 David Robinson, et al., PCR Purchasing Report Wuhan China 3 (Oct. 5, 2021),

https://internet2-0.com/content/files/2023/07/PCR-Purchasing-Report-Wuhan-
China-.pdf/.
104 Ibid.




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“assess with high confidence that the pandemic began much earlier than China

informed the WHO about COVID-19.”105

       By “mid-October 2019,” diplomats stationed in Wuhan had similarly noticed

the significant spread of a viral illness in the city—a spread that “worsened in

November” 2019.106 COVID-19 was also spreading even further among WIV

researchers at this time. In November 2019, three WIV researchers all “became sick

enough . . . that they sought hospital care.”107 Intelligence reports suggest that all

three of these WIV researchers were working in WIV’s “bat coronavirus lab.”108 David

Asher, a former U.S. official who led a State Department task force on the origins of

COVID-19, remarked that he is “very doubtful that three people in highly protected

circumstances in a level three laboratory working on coronaviruses would all get sick

with influenza that put them in the hospital or in severe conditions all in the same




105 Ibid.
106 Russell J. Westergard, Surviving the Outbreak: Reflections on ConGen Wuhan’s

Evacuation      and    Life     in     Quarantine,     State    Mag.,   April    2020,
https://statemag.state.gov/2020/04/0420feat05/.
107 Michael R. Gordon, et al., Intelligence on Sick Staff at Wuhan Lab Fuels Debate on

Covid-19 Origin, Wall St. J. (May 23, 2021), https://www.wsj.com/articles/intelligence
-on-sick-staff-at-wuhan-lab-fuels-debate-on-covid-19-origin-11621796228.
108 John Sexton, Josh Rogin: The Sick Researchers from the Wuhan Institute of

Virology Lost Their Sense of Smell, Townhall Media (Aug. 23, 2021),
https://hotair.com/john-s-2/2021/08/23/josh-rogin-the-sick-researchers-from-the-
wuhan-institute-of-virology-lost-their-sense-of-smell-n411008?utm_source=
hadaily&utm_medium=email&utm_campaign=nl&bcid=8096cc9b9192bfe637153a53
0c830713.


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week, and it didn’t have anything to do with the coronavirus.”109 Each of these three

researchers was found to have “COVID specific symptoms.”110

      By some reports, “the earliest confirmed case of COVID-19,” at least

represented in classified “official [PRC] government data,” is a 55-year-old “who

contracted the virus on November 17[,]” 2019.111 These reports on the “official [PRC]

government data” provide that, from November 17, new COVID-19 cases were

thereafter reported “each day.”112

      According to frontline doctors in Wuhan, by November 2019 the rate of illness

in Wuhan was so high that government officials were cancelling classes in some high

schools.113 City officials began more fully “clos[ing] public schools in mid-December to

control the spread of the disease.”114 In other words, by November 2019 (and certainly

December 2019), local PRC government officials recognized the dangers of human-to-




109 Michael R. Gordon, et al., Intelligence on Sick Staff at Wuhan Lab Fuels Debate on

Covid-19 Origin, Wall St. J. (May 23, 2021), https://www.wsj.com/articles/intelligence
-on-sick-staff-at-wuhan-lab-fuels-debate-on-covid-19-origin-11621796228.
110 John Sexton, Josh Rogin: The Sick Researchers from the Wuhan Institute of

Virology Lost Their Sense of Smell, Townhall Media (Aug. 23, 2021),
https://hotair.com/john-s-2/2021/08/23/josh-rogin-the-sick-researchers-from-the-
wuhan-institute-of-virology-lost-their-sense-of-smell-n411008?utm_source=
hadaily&utm_medium=email&utm_campaign=nl&bcid=8096cc9b9192bfe637153a53
0c830713.
111 Josephine Ma, Coronavirus: China’s First Confirmed Covid-19 Case Traced Back

to November 17, South China Morning Post (Mar. 12, 2020).
112 Political Chronology Report at 119.
113 Id. at 128.
114 Russell J. Westergard, Surviving the Outbreak: Reflections on ConGen Wuhan’s

Evacuation      and    Life    in    Quarantine,      State   Mag.,    April     2020,
https://statemag.state.gov/2020/04/0420feat05/.


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human transmission of the spreading COVID-19 virus to a sufficient degree as to take

affirmative steps to limit certain gatherings of people.

       It was not until December 1, 2019 that a patient experiencing the onset of

COVID-19 symptoms was officially later described by Defendants “as the earliest

patient who had ‘continuous exposure’ to the Huanan Seafood Market in Wuhan.” 115

By “no later than December 10[,]” 2019, Wuhan doctors had clearly documented cases

of patients with COVID-19 symptoms but without exposure to the seafood market,

demonstrating that (at least by that point) Defendants had “strong[]” evidence

“suggesting person-to-person transmission was likely occurring.”116 Throughout

December 2019, medical personnel in multiple Wuhan hospitals “were placed in

quarantine” on the suspicious that they had contracted COVID-19.117

       Despite at least a month of mounting internal evidence (and numerous actions

seemingly taken by Defendants to arrest a virus spreading by human-to-human

transmission), Defendants did not publicly acknowledge the existence of COVID-19

or the outbreak until December 31, 2019.118 In their announcement of the existence

of COVID-19, Defendants falsely asserted that “at the present time, inquiries have

found no obvious signs of human-to-human transmission and have not found

infections among medical personnel.”119 Defendants would repeat this factually




115 Political Chronology Report at 129.
116 Ibid.
117 Id. at 135.
118 Id. at 139.
119 Political Chronology Report at 139 (emphasis added).




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untrue claim of having no “signs of human-to-human transmission” until January 20,

2020, long after COVID-19 began spreading to the rest of the world.120

       C.    China, the CPC, and other Defendants aggressively seek to
             suppress information on the spread of COVID-19

       As the U.S. State Department has concluded, CPC and the PRC have

“systematically prevented a transparent and thorough investigation of the COVID-

19 pandemic’s origins, choosing instead to devote enormous resources to deceit and

disinformation.”121 Or, in the words of a U.S. House Foreign Affairs Committee

Minority Staff Report, “[f]rom the early stages of the pandemic,” Defendants

“repeatedly acted to conceal vital information about the virus from their own people,

the WHO, and the world.”122 These failures by PRC, CPC, and other Defendants

include: (1) “[t]he failure of [Defendants] to notify the WHO about the outbreak of a

novel disease within their borders”; (2) [t]he repeated failure of [Defendants] to notify

the WHO of cases meeting the WHO definition of SARS”; (3) “[t]he decision not to

immediately publish the WIV’s completed genetic mapping of SARS-CoV-2, the virus

that causes COVID-19, which would have shown its similarity to SARS-CoV and

confirmed it to be a novel coronavirus”; (4) “[t]he shuttering of the Shanghai lab that

published the SARS-CoV-2 genome online”; (5) “[t]he lack of new case announcements



120 Ibid.
121 U.S. State Dep’t, Fact Sheet: Activity at the Wuhan Institute of Virology (Jan. 15,

2021).
122 Minority Staff of House Comm. On Foreign Affairs, 116th Congress, Rep. on The

Origins of the COVID-19 Global Pandemic, Including the Roles of the Chinese
Communist Party and the World Health Organization 23 (Sept. 21, 2020) (hereinafter
“House Comm. On Foreign Affairs Report”).


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during the [CPC] political meetings between January 6th and January 17th”; and

(6) “[t]he suppression of reports from medical doctors within the PRC providing

evidence of human-to-human transmission.”123

             i.     Defendants deny the existence and transmissibility of COVID-
                    19 long after they clearly had actual knowledge to the
                    contrary.

       The facts demonstrate that there was a clear period of at least “seven weeks”—

if not several weeks longer—“during which Chinese officials could have shown good

faith and honored their international commitments” by disclosing their knowledge of

the existence, and then the human-to-human transmissibility, of the COVID-19

virus.124 Instead, Defendants “consistently chose to do otherwise.”125 Despite the

continually mounting evidence of the spread of COVID-19, and Defendants’ own

actions taken to halt human-to-human transmissibility of the virus in November and

December 2019, the PRC and its officials failed to make any public acknowledgement

of the outbreak until December 31, 2019.126 Dr. Shi Zhengli, director of the WIV

Research Center for Emerging Infectious Diseases, claimed that Defendants “had no

knowledge of the outbreak” until 7:00 PM local time on December 31.127 As

demonstrated at length above, this representation was plainly false.

       Defendants’ weeks (if not months)-late acknowledgement, which sought to

downplay any information about the spread of COVID-19, also doubled down on


123 Id. at 23–24.
124 Most Catastrophic Pandemic of Our Time Report at 17.
125 Ibid.
126 Political Chronology Report at 139
127 Id. at 132.




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Defendants’ blatant falsehoods and denials surrounding COVID-19. In their

December 31, 2019 announcement, Defendants “asserted that ‘at the present time,

inquiries have found no obvious signs of human-to-human transmission and have not

found infections among medical personnel.”128 This statement was false. What’s more,

the evidence clearly established that Defendants knew it was false. “[A]s early as [at

least] the second week of December, Wuhan doctors were finding cases that indicated

the virus was spreading from one human to another.”129 It is well-recognized that

“[o]ccupational transmission of a virus among medical personnel is a clear sign of

sustained person-to-person transmission, which the Wuhan authorities explicitly

denied was happening in their first public acknowledgment of the outbreak on

December 31,” 2019.130 Many of the actions Defendants are documented taking in

November and December 2019, as well as in January 2020, see supra, are illogical

unless Defendants not only actually had knowledge of COVID-19, but also had

knowledge of the virus‘ human-to-human transmission. These actions include (as

detailed at length above) not only increased purchases of pandemic response

equipment and treatment of multiple WIV BSL-4 researchers with identical

symptoms, but also cancelling high school classes and, eventually, fully closing public

schools. And, of course, all of these state actions occurred immediately after




128 Ibid.
129 Jim Geraghty, The Comprehensive Timeline of China’s COVID-19 Lies, Nat’l Rev.

(Mar. 23, 2020), http://www.nationalreview.com/the-morning-jolt/chinas-
devastating-lies/.
130 Political Chronology Report at 136.



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Defendants suddenly (and permanently) took down WIV’s public viral pathogen

database in September 2019.

      Indeed, the timeline demonstrating Defendants’ knowledge of human-to-

human transmission of the virus is damning. By at least December 6, individuals

with “no known history of exposure to the market” were presenting to local hospitals

with COVID-19 symptoms and quickly being shuffled into “the isolation ward.”131 By

December 20, 2019, Defendants were aware of at least “60 people [who] had

contracted the virus, including family members in close contact with Huanan

workers, but who did not have direct exposure to the market.”132 By December 25,

2019, Defendants were quarantining medical staff in two hospitals in Wuhan who

were suspected of contracting the virus—“additional strong evidence of human-to-

human transmission.”133 And by December 27, 2019 (at the latest), Defendants had

evidence that person-to-person transmissions were occurring among family

clusters.”134 Nevertheless, “[i]n [their] first public admission of the outbreak on

December 31, PRC authorities would falsely claim that the cause of the outbreak was

unknown and deny that any evidence of person-to-person transmission existed, much

less asymptomatic transmission.”135 In fact, “PRC authorities at the central and local


131 Jim Geraghty, The Comprehensive Timeline of China’s COVID-19 Lies, Nat’l Rev.

(Mar. 23, 2020), http://www.nationalreview.com/the-morning-jolt/chinas-
devastating-lies/.
132 House Comm. On Foreign Affairs Report at 7.
133 Jim Geraghty, The Comprehensive Timeline of China’s COVID-19 Lies, Nat’l Rev.

(Mar. 23, 2020), http://www.nationalreview.com/the-morning-jolt/chinas-
devastating-lies/.
134 Political Chronology Report at 136.
135 Id. at 137




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levels continued to deny that person-to-person transmission and occupational

transmission among medical personnel were occurring until January 20, 2020.”136 As

noted, each instance of Defendants’ initiating a quarantine—and the instances before

January 20, 2020 abound—do not make sense except if Defendants knew of human-

to-human transmission of COVID-19. It is the scope of evidence uniquely available to

Defendants (and actions by Defendants) that is critical to understanding the plainly

intentional nature of Defendants’ misrepresentation of the transmissibility risks of

COVID-19 in late 2019 and early 2020.137 Indeed, in January 2020, 29 Chinese

researchers and clinicians published a study of officially acknowledged cases from

December 2019 (a list that, as addressed infra, likely significantly undercounted

cases) showing that 34% of these cases did not have direct exposure to the Huanan

seafood market.138 Each patient in this study had been identified as “laboratory-

confirmed” COVID-19 patients by January 2, 2020 at the latest—with some likely

much earlier.139 The research coming out of China demonstrates that “evidence of

person-to-person transmission was available to and recognized by astute Chinese

experts from the very beginning.”140 Or, as frontline Chinese doctor Dr. Zhang Li

observed, “by the end of December[,] ‘the signs of human-to-transmission were

already very obvious.’”141 Defendants “would withhold this information when they


136 Id. at 136.
137 Id. at 129.
138 Chaolin Huang,    Yeming Wang, et al., Clinical features of patients infected with
2019 novel coronavirus in Wuhan, China, 395 The Lancet 497, 497–506 (2020).
139 Ibid.
140 Political Chronology Report at 129.
141 Most Catastrophic Pandemic of Our Time Report at 17–18.




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disclosed the outbreak to the public on December 31.”142 Even when they did finally

disclose the COVID-19 outbreak to the world on December 31, 2019 (while continuing

to deny evidence of human-to-human transmission), Defendants immediately “issued

an order to hospitals, clinics, and other health care facilities strictly prohibiting the

release of any information about treatment of this new disease.”143

       Defendants’ misrepresentations are made even more blatant by the fact that,

contrary to their official statements, Defendants had an analysis of the “nearly full

genome sequence” of the COVID-19 virus by December 27, 2019, and a “completed

genomic sequencing” by December 29, 2019144—not only days before Defendants even

admitted COVID-19 existed, but nearly a month before Defendants conceded

knowledge of the human-to-human transmissibility of the virus.

       Despite months of mounting evidence—and their own actions in response to

the virus that would only be logical in response to human-to-human transmission—

Defendants and their agents continued to deny the critical existence of human-to-

human transmission. On January 1, 2020, Defendants “ordered the WIV not to

disclose anything about the epidemic such as testing, experimental data, and

results—even to partner organizations and technical service companies.” 145 On the

same day, “sequencing companies were told to stop sequencing, to destroy samples,

and not to communicate anything.”146


142 Political Chronology Report at 129.
143 Most Catastrophic Pandemic of Our Time Report at 21.
144 Id. at 19.
145 Id. at 20.
146 Most Catastrophic Pandemic of Our Time Report at 20. .




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       Beginning January 6, 2020, the U.S. Centers for Disease Control and

Prevention “repeatedly contacted [Defendants], offering to send a team of experts” to

assist in responding to, and studying, the COVID-19 outbreak.147 Defendants refused

to allow either CDC or WHO teams into China until mid-February, long after

Defendants belatedly acknowledged their knowledge of the human-to-human

transmission of COVID-19.148

       On January 14, 2020, despite months of evidence of human-to-human

transmission of the virus (and actions taken by Defendants to combat human-to-

human transmission), the Wuhan Municipal Health Commission released a public

statement again claiming that “[a]mong the close contacts [of patients diagnosed with

covid], no related cases [i.e., cases suggesting human-to-human transmission] were

found.”149 As has been detailed at length, this was plainly false. On January 15, 2020,

Japan issued a statement that the first patient in Japan likely contracted the

coronavirus from an infected person in China.150 Nevertheless, two days later, on

January 17, 2020, Defendants repeated their lies of January 14, 2020 that, “[a]mong

close contacts, no related cases were found.”151 It was not until an interview aired on


147 House Comm. On Foreign Affairs Report at 12
148 Ibid.
149 Jim Geraghty, The Comprehensive Timeline of China’s COVID-19 Lies, Nat’l Rev.

(Mar. 23, 2020), http://www.nationalreview.com/the-morning-jolt/chinas-
devastating-lies/.
150 Sui-Lee Wee, Japan and Thailand confirm New Cases of Chinese Coronavirus,

N.Y. Times (Jan. 21, 2020), https://www.nytimes.com/2020/01/15/world/asia/
coronavirus-japan-china.html.
151 Jim Geraghty, The Comprehensive Timeline of China’s COVID-19 Lies, Nat’l Rev.

(Mar. 23, 2020), http://www.nationalreview.com/the-morning-jolt/chinas-
devastating-lies/.


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January 20, 2020 did a PRC official acknowledge for the first time that COVID-19

was spreading between people or that any infections among medical personnel had

occurred.152

      Defendants PRC and CPC have even gone so far in their quest to suppress

knowledge of the origins and spread of COVID-19 as to attempt to meddle in the

politics of other countries. “On at least two occasions,” Defendants’ officials “sent

requests to State Senator Roger Roth, the president of the Wisconsin Senate, asking

that the Senate pass a resolution praising the PRC’s response to the pandemic.”153

Defendants have “preemptively threatened countries who were critical of the PRC’s

handling of the early stages of the outbreak,” including “demand[ing]” that a

European Union report “criticiz[ing] [Defendants] for, among other things, spreading

disinformation related to the origins of SARS-CoV-2” be ”censored, and then

rewritten.”154 All of this is part of the “great lengths” Defendants have gone to in order

“to use information both defensively and offensively to protect its international

reputation as a virus that originated within its borders has gone global.”155




152 Political Chronology Report at 158.
153 House Comm. On Foreign Affairs Report at 24 (emphasis added).
154 House Comm. On Foreign Affairs Report at 24.
155 Zeeshan Aleem, China Reportedly Lobbied the EU to Dial Down Criticism of Its

Covid-19 Disinformation Campaigns, Vox (April 25, 2020), https://www.vox.com/
coronavirus-covid19/2020/4/25/21236552/china-eu-coronavirus-disinformation-
conspiracy.

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          ii.   Defendants sought to suppress information that they had
                fully sequenced the COVID-19 genome by at least December
                2019 and were likely working on a vaccine for COVID-19
                months before acknowledging its transmissibility.

      As early as December 27, 2019, a Chinese lab “had sequenced almost all of the

genome of SARS-CoV-2, and shared its findings with hospital officials by phone as

well as with the state-run Chinese Academy of Medical Science.”156 On the same day,

“hospitals and health officials in Wuhan were notified” that the COVID-19 genome

sequencing confirmed that the virus was “a new strain a coronavirus that was 87%

genetically similar to SARS-CoV, the virus that caused the 2003 SARS pandemic.”157

This was just the first of several sequences that occurred in rapid succession—around

that time, “local doctors sent at least eight other patient samples from hospitals

around Wuhan to multiple Chinese genomics companies.”158 By December 29, 2020,

the Beijing Genomics Institute “had fully sequenced the genome” of “at least three

samples of SARS-CoV-2 drawn from different patients and reported its findings to

the Wuhan Municipal Health Commission.”159

      Immediately after sequencing the COVID-19 genome, Defendants took steps

to hide their knowledge of the sequenced genome and delay the spread of any genomic

information about the virus. On January 1, 2020, “after several batches of genome



156 Political Chronology Report at 137.
157 House Comm. On Foreign Affairs Report at 8.
158 Gao Yu, et al., How Early Signs of the Coronavirus Were Spotted, Spread and

Throttled in China, Straits Times (Feb. 28, 2020), https://www.straitstimes.com/
asia/east-asia/how-early-signs-of-the-coronavirus-were-spotted-spread-and-
throttled-in-china.
159 Political Chronology Report at 138.




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sequence results had been returned to hospitals and submitted to health authorities,”

Defendants’ agents at the Hubei Provincial Health Commission “order[ed] the

company to stop testing samples from Wuhan related to the new disease and destroy

all existing samples.”160 Defendants also instructed the labs “to immediately cease

releasing test results and information about the tests, and report any future results

to [Defendants].”161 Two days later, on January 3, 2020, “China’s National Health

Commission (NHC), the nation’s top health authority, ordered institutions not to

publish any information” related to sequencing the COVID-19 virus, “and ordered

labs to transfer any samples they had to designated testing institutions, or to destroy

them.”162

      For several months thereafter, Defendants “refused to acknowledge that [they]

issued” the order silencing any information on the COVID-19 genomic sequence.163

Furthermore, throughout the pandemic—and “[d]espite repeated requests”—

Defendants have “refused to share PRC virus samples with the international

community.”164 This instruction was codified on January 31, 2020, when Defendants

“issued a nationwide directive to all of the laboratories and educational institutions”

in PRC which “made clear that they should ensure that foreign scientists working in



160 Gao Yu, et al., How Early Signs of the Coronavirus Were Spotted, Spread and

Throttled in China, Straits Times (Feb. 28, 2020), https://www.straitstimes.com/
asia/east-asia/how-early-signs-of-the-coronavirus-were-spotted-spread-and-
throttled-in-china.
161 Ibid.
162 Ibid.
163 House Comm. On Foreign Affairs Report at 11.
164 Id. at 24.




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China did not access or spread information about the outbreak that was not officially

sanctioned.”165 In their own words, Defendants instructed the Chinese laboratories

to “guide the foreign experts to not believe rumors and not spread rumors.”166

       Actions by Chinese researchers further suggest that Defendants had

knowledge of COVID-19 and its genome long before December 29, 2019. On February

24, Zhou Yusen, a virologist with PRC’s People’s Liberation Army and a team of PLA

researchers filed the first patent application for a COVID-19 vaccine.167 Zhou’s

vaccine patent came only 35 days after Defendants admitted to the public that

human-to-human transmission was occurring, a period far shorter than even the

most ambitious vaccine development program could accomplish. On the contrary,

“[b]ased on the methodology that Zhou’s team used to develop the vaccine and the

three experiments conducted to complete the underlying study, U.S. experts in

vaccinology and immunology . . . estimated that a minimum of 12-16 weeks lead time

(three to four months) would have been required to conduct the necessary technical

and animal experimentation to prepare this patent application for submission by

February 24.”168 This estimated timeline “places the beginning of Zhou’s research in

early November 2019 at the latest, perhaps as early as mid-October.”169 Experts have

also observed that other, similar research published by Zhou beginning in April 2020,

titled “Adaption of SARS-CoV-2 in BALB/c Mice for Testing Vaccine Efficacy” would


165 Political Chronology Report at 172.
166 Id. at 173.
167 Id. at 197.
168 Id. at 197 (emphasis added).
169 Ibid.




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in fact “have required a minimum of 18 weeks of focused work, or almost five months,

to complete.”170 Based on this timeline, a “conservative estimate” for the timeline of

the April 2020 research “would then place the beginning of Zhou’s vaccine work no

later than November 2019.”171 In other words, PLA researchers’ own timeline

suggests that Defendants were aware of the human-to-human transmissibility of the

virus—and actively working on a vaccine for it—months before they disclosed these

facts to the rest of the world.

       On February 24, 2020, the same day PLA researchers submitted their first

patent, Defendants issued an “urgent notice” to Chinese researchers that

“discouraged [further] research into the novel coronavirus,” ordering “that studies

already submitted for publication without pre-approval should be retracted

immediately” and prohibiting Defendants’ researchers “from sharing any data,

biological specimens, pathogens, cultures, or other information related to the

pandemic with other institutions or individuals.”172 Defendants, through a

confidential directive, established a state council responsible for “screen[ing]

scientific papers and other publications related to SARS-CoV-2 and COVID-19 before

they could be released” and prohibited the sharing of any information related to

COVID-19 without state authorization.173 Government officials were instructed to

spend their efforts “[p]romptly detect[ing] and dispos[ing] of various types of online



170 Political Chronology Report at 215.
171 Ibid.
172 Id. at 199 (internal quotation marks omitted).
173 Id. at 203.




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rumors and harmful information to resolutely defend the political security of the

state.”174

             iii.   Defendants sought to underrepresent the spread of the virus,
                    misrepresenting its threat to global health.

       Defendants’ misrepresentations were not limited to concealing their

knowledge of the existence, genomic structure, and human-to-human transmissibility

of the virus. Rather, Defendants also affirmatively concealed the risk the virus

presented to the rest of the world by taking steps to intentionally underrepresent the

spread of COVID-19 in PRC’s own population during the period of time Defendants

were aggressively hoarding PPE. “From the beginning, [Defendants] only allowed

some symptomatic cases to be reported.”175 In was not until January 15, 2020, months

into the spread of COVID-19, that Defendants first issued any case definition to guide

the diagnosis and public reporting of COVID-19 cases.176 What’s more, the criteria of

Defendants’ first definition of a positive COVID-19 diagnosis “were unusually

complex, narrowly defined, and seemly designed to exclude all but the most severe

cases.”177 Before a diagnosis of COVID-19 could be publicly reported, the patient was

required to have travelled to Wuhan (a meaningless criteria given Defendants’

existing knowledge of human-to-human transmission), display all of four distinct

clinical conditions (including fever, pneumonia, and reduced white blood cell count),




174 Political Chronology Report at 200.
175 House Comm. On Foreign Affairs Report at 26.
176 Political Chronology Report at 155.
177 Id. at 155.




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and have been subject to laboratory testing of the patient’s respiratory specimens.178

In other words, Defendants instructed doctors to only publicly report cases “that were

symptomatic, clinically diagnosed, and confirmed by laboratory tests.”179 Even when

Defendants issued a new set of guidance as late as February 4, 2020, Defendants

excluded from the public count of “confirmed cases” any patients “who tested positive

but were asymptomatic, pre-symptomatic, or mildly symptomatic.”180 When

Defendants relaxed these reporting requirements on February 13 for a single

province—Hubei province—they reported 14,840 new COVID-19 cases in one day.181

Defendants’ actual records of “[t]he number of known cases that were asymptomatic,

pre-symptomatic, or mildly symptomatic” was not released, but instead is deemed by

Defendants as “classified information.”182

      Defendants’ actions had a significant impact on the scope of reported cases.

Studies have reported that over one-third of all COVID-19 cases are asymptomatic.183

When you also include “pre-symptomatic” cases (i.e., symptoms had not yet become

apparent), this number rises to 42.8% of all COVID-19 cases surveyed.184 Refusing to


178 Political Chronology Report at 155.
179 House Comm. On Foreign Affairs Report at 26 (emphasis added).
180 Political Chronology Report at 179.
181  Emily Feng & Scott Neuman, A Change in How 1 Chinese Province Reports
Coronavirus      Adds      Thousands   of  Cases,    NPR      (Feb.   13,    2020),
https://www.npr.org/sections/goatsandsoda/2020/02/13/805519117/a-change-in-how-
one-chinese-province-reports-coronavirus-adds-thousands-of-cases.
182 John Xie, In China, Officials Exclude Asymptomatic COVID-19 Carriers From

Data, VOA (Mar. 28, 2020), https://www.voanews.com/a/science-health_coronavirus-
outbreak_china-officials-exclude-asymptomatic-covid-19-carriers-data/6186569.html
183 Pratha Sah, et al., Asymptomatic SARS-COV-2 Infection: A Systematic Review and

Meta-Analysis, 118 PNAS 1 (August 10, 2021).
184 Ibid.




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include asymptomatic or presymtomatic cases (to say nothing of “mildly”

symptomatic) in your “official” published numbers not only significantly underreports

the existing number of infected citizens, but misrepresents the rate of spread of the

virus. By some estimates, “at least 50% of transmissions” were estimated to occur

from either asymptomatic or presymptomatic carriers.185 On March 22, 2020, reports

emerged that Defendants’ had classified data showing “that by the end of February

some 43,000 asymptomatic people in China had tested positive for the virus,

representing one-third of all cases.”186 It was not until March 31, 2020, after

Defendants were caught preventing asymptomatic cases from being included in the

number of confirmed cases, that Defendants starting counting these cases.187 By April

1, 2020, Defendants had switched between “eight[] different definition[s] of what

constitutes a COVID-19 infection” in their official statistics.188

      As then-U.S. Secretary of State Mike Pompeo observed, the “intentional

disinformation campaign that China has been and continues to be engaged in” has

led the United States “now to a place where much of the challenge we face today has

put us behind the curve.”189 Asymptomatic cases were not included until the eighth

definition of what constitutes a COVID-19 infection—a shocking degree of


185  Michael Johansson, et al., SARS-CoV-2 Transmission From People Without
COVID-19 Symptoms, JAMA Network Open (Jan. 7, 2021), https://jamanetwork.com/
journals/jamanetworkopen/fullarticle/2774707.
186 House Comm. On Foreign Affairs Report at 26.
187 Ibid.
188 Charlie Campbell & Amy Gunia, China Says It’s Beating Coronavirus. But Can

We Believe Its Numbers, TIME (Apr. 1, 2020), https://time.com/5813628/china-
coronavirus-statistics-wuhan//
189 Ibid.




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underreporting that has “hindered the world’s ability to understand the severity of

the outbreak in Wuhan.”190 Some experts believe that, although Defendants have

“deliberately made estimation difficult,” Defendants’ public representations of the

number of confirmed cases outside of Hubei province “are low by a factor of 100 or

more.”191 And this underreporting assumes Defendants provide any relevant

information to the rest of the world. In some instances, Defendants refused—despite

“accountability” requirements baked into WHO “rules governing international

outbreaks”—to share any information on specific categories of data at all.192

       Furthermore, Defendants did not only attempt to misrepresent their rates of

COVID-19 infections through turning the criteria into a medical shell game—at times

PRC and CPC officials blatantly lied to the rest of the world in their representations

of relevant data. For example, in a leaked PRC government document marked

“internal document, please keep confidential,” local health authorities in the Hubei

province list a total of 5,918 newly detected cases for February 10, 2020—“more than

double the official public number of confirmed cases.”193 On January 15, 2020, a single

radiologist in a single Chinese hospital “diagnosed 50 cases by CT-scans” alone,

“which was more than the official total number of cases since the start of the outbreak




190 Ibid.
191 Derek Scissors, Estimating the True Number of China’s COVID-19 Cases, Am.

Enter. Inst., April 7, 2020, https://www.aei.org/research-products/report/estimating-
the-true-number-of-chinas-covid-19-cases/.
192 Nick Paton Walsh, The Wuhan Files, CNN (Dec. 1, 2020), https://www.cnn.com/

2020/11/30/asia/wuhan-china-covid-intl/index.html.
193 Ibid.




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. . . as reported by the Chinese authorities.”194 In fact, “it was not until Feb[ruary]

14,” “month[s] into the crisis,” that Defendants first “disclosed that about 1,700 front-

line medical workers were infected at that time.”195 This disconnect between

Defendant’s misrepresentations and reality is not limited to discrete instances,

either. On one given day, Defendants “nationwide tally . . . was 9,548 new cases and

five deaths,” while at the same time just one of China’s provinces, Zhejiang, was by

itself reporting data suggesting “about 1 million new cases a day.”196 American

intelligence agencies have likewise concluded that, “since at least early February”

2020, “China has vastly understated its coronavirus infections and that its count

could not be relied upon.”197 Likewise, British officials believe “that China’s officially

declared statistics on the number of cases of coronavirus could be downplayed by a

factor of 15 to 40 times.”198

       As then-Secretary Pompeo acknowledged, Defendants’ gross underreporting of

cases had the obvious effect of delaying the world’s awareness of the scope and




194 Most Catastrophic Pandemic of Our Time Report at 21 (emphasis added).
195 Nick Paton Walsh, The Wuhan Files, CNN (Dec. 1, 2020), https://www.cnn.com/

2020/11/30/asia/wuhan-china-covid-intl/index.html.
196 Huizhong Wu & Aniruddha Ghosal, What We Know About the COVID-19 Data

China Is—And Isn’t—Sharing, PBS News (Jan. 6, 2023), https://www.pbs.org/
newshour/health/what-we-know-about-the-covid-19-data-china-is-and-isnt-sharing.
197 Julian E. Barnes, C.I.A. Hunts for Authentic Virus Totals in China, Dismissing

Government Tallies, N.Y. Times (Apr. 16, 2020), https://www.nytimes.com/
2020/04/02/us/politics/cia-coronavirus-china.html.
198 Harry Cole & Stephen Adams, China’s Efforts to Blame Coronavirus on a US Army

Delegation to Wuhan Infuriate No. 10 as Boris Johnson’s Advisers Say Beijing’s
Statistics on Its Cases Could Be Downplayed by a Factor of 40, Daily Mail (March 28,
2020), https://www.dailymail.co.uk/news/article-8163707/Chinas-efforts-blame-
coronavirus-army-delegation-Wuhan-infuriate-No-10.html.

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severity of the COVID-19 pandemic. This, in turn, gave Defendants weeks (if not

months) head start on acquiring PPE—all before the rest of the world became aware

of the coming risks.

          iv.   Defendants’ targeting of whistleblowers and reporters
                sharing information on the human-to-human transmissibility
                of COVID-19

      Also well-documented are Defendants PRC and CPC’s affirmative actions

taken to detain and punish doctors and others who sought to warn the public about

the COVID-19 outbreak.

      Starting on December 2, 2019—nearly a month before Defendants

acknowledged the existence of the COVID-19 virus, and seven weeks before

Defendants admitted their knowledge of the human-to-human transmission of the

virus—“local authorities in Wuhan issued ‘an emergency notice to medical

institutions’ that forbade them from releasing ‘unauthorized’ information about the

disease.”199 This notice, unlike many of Defendants’ actions, was not simply political

theater. Rather, Defendants aggressively prosecuted medical and scientific personnel

they believed were sharing any information about the disease—even if the targeted

communications were simply to try to warn others to take precautions or protect

against transmission of the disease. The list below includes only some of the victims

of this crackdown. Many more exist, and it is likely there were many persecuted by

Defendants about which the world will never hear.




199 Most Catastrophic Pandemic of Our Time Report at 18.



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      Dr. Li Wenliang was an ophthalmologist working at Wuhan Central Hospital

when, on December 30, 2019, he sent a message to fellow doctors warning them about

the human-to-human transmissibility of the virus and “to wear protective clothing to

avoid infection.”200 Only four days later, Defendants forced Dr. Li to sign a letter that

accused him of “‘making false comments’ that had ‘severely disturbed the social

order.’”201 He was also investigated and threatened with public prosecution for

“spreading rumors.”202 After making his forced retraction about the dangers of

COVID-19, Dr. Li himself died of COVID.203

      Dr. Ai Fen, who was the director the emergency department of the Central

Hospital of Wuhan and “who shared the laboratory tests confirming SARS with Dr.

Li,” recognized the human-to-human transmissibility of the virus and “ordered her

staff to begin wearing masks on January 1[,]” 2020.204 Upon Dr. Ai suggesting these

precautions be taken, Defendants ordered Dr. Ai “to appear before the hospital’s

discipline board the very next day, where she was blamed for ‘spreading rumors.’”205

Defendants later ordered that medical charts of people at the hospital who contracted

COVID be altered to reflect a less serious diagnosis, and continued for weeks

thereafter to deny human-to-human transmission of the virus was occurring.206



200 Li Weliang: Coronavirus Kills Chinese Whistleblower Doctor, BBC, Feb. 6, 2020,

https://www.bbc.com/news/world-asia-china-51403795.
201 Ibid.
202 Ibid.
203 Ibid.
204 House Comm. On Foreign Affairs Report at 27.
205 Ibid.
206 Ibid.




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       On the same afternoon of January 1, 2020, the Wuhan Municipal Public

Security Bureau announced that it had “already investigated and dealt with eight

rumormongers according to the law,” who had “disseminated and reposted”

information about COVID-19 which Defendants believed “caused a harmful effect on

society.”207 The People’s Daily, the official mouthpiece of the CPC, and state television

broadcaster CCTV amplified these reports in articles and news segments the very

next day.208 The amplification of these political prosecutions as a method of silencing

whistleblowers is a running theme throughout Defendants’ response to the pandemic.

The punishment Dr. Li Wenliang, Dr. Ai Fen, and other whistleblowers was

consistently “covered prominently by media outlets that are directly controlled by

[Defendants].”209 It is estimated that “[a]t least 254 people would be punished” within

this first week alone for “spreading rumors,” including “[j]ournalists, lawyers, and

other concerned Chinese citizens who subsequently tried to document what was

happening in Wuhan.”210

       Defendants' actions to cover up the spreading COVID-19 pandemic were not

limited only to punishing specific whistleblowers. Beginning on January 1, 2020,

Defendants “implemented a gag order against medical professionals, academic

researchers, and commercial biotechnology firms” which acted to bar the scientific

community from “sharing any information related to the outbreak of SARS-CoV-2,



207 Political Chronology Report at 143.
208 Ibid.
209 Id. at 144.
210 Id. at 144.




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the nature of the virus, [or] key pieces of data, such as samples of the virus.” 211 This

state action to affirmatively silence the spread of any information related to the

COVID-19 virus or its human-to-human transmissibility was further reinforced on

January 3, 2020, when the gag order was codified and applied nationally by

Defendants through an official, classified directive.212 Defendants’ directive ”forb[ade]

researchers, medical professionals, and others from publishing or sharing any

information related to the virus without state authorization and ordered labs in

possession of relevant samples to transfer them to designated institutions or destroy

them.”213 In case there was any doubt that Defendants sought to use the directive to

silence any information on the transmissibility and spread of COVID-19, the directive

“instructed hospitals to not enter data from coronavirus patients into the surveillance

system set up by the CCDCP to track outbreaks.”214 For good measure, the Wuhan

Municipal Health Commission also issued yet another statement on January 3, 2020,

falsely claiming there was no evidence of human-to-human transmission.215

       On January 11, 2020, after deaths began to leak to the Chinese media,

Shanghai Public Health Clinical Centre Professor Zhang Yongzhen leaked his lab’s

genomic sequencing data of SARS-CoV-2 on open access online databases. “It was not

until after Zhang released the genome that the Chinese government, the Chinese

CDC, the Wuhan Institute of Virology, and the Chinese Academy of Medical Sciences


211 Political Chronology Report at 144.
212 Id. at 145.
213 Ibid.
214 Ibid.
215 Ibid.




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raced to publish their sequences.”216 The next day, the PRC and CPC closed Professor

Zhang’s lab for “rectification.”217 All of this occurred “a full two weeks” after

Defendants received the genomic sequencing data of SARS-CoV-2.218 By this point

WHO officials had been “complain[ing] in meetings” for weeks “that China was not

sharing enough data to assess how effectively the virus spread between people or

what risk it posed to the rest of the world, costing valuable time.”219 Defendants

continued to deny any evidence of human-to-human transmission of COVID-19.220

       The effects of Defendants’ cover-up are stark. Reports suggest that “the

[COVID-19] outbreak arguably might have been dramatically slowed” had

Defendants not “stalled” the release of the SARS-CoV-2 genome for weeks—and,

potentially, would have stalled for much longer without the brave actions of

whistleblowers like Zhang, Li, Ai, and others like them. As Ali Mokdad, a professor

at the Institute for Health Metrics and Evaluation at the University of Washington

noted, “[i]t’s obvious that we could have saved more lives and avoided many, many

deaths” if Defendants “had acted faster” in reporting the information in their




216 Most Catastrophic Pandemic of Our Time Report at 20.
217 Ibid.
218 Kayla Bartsch, Chinese Lab Mapped Covid-19 Virus Two Weeks Before Sharing

Information Globally, Documents Reveal, Nat’l Rev. (Jan. 17, 2024),
https://www.nationalreview.com/news/chinese-lab-mapped-covid-19-virus-two-
weeks-before-sharing-information-globally-documents-reveal/.
219 Associated Press, How China Blocked WHO and Chinese Scientists Early in

Coronavirus Outbreak, NBC News (June 2, 2020), https://www.nbcnews.com/health/
health-news/how-china-blocked-who-chinese-scientists-early-coronavirus-outbreak-
n1222246.
220 Political Chronology Report at 152.




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possession on COVID-19. Instead, Defendants sought to silence the spread of this

information while they aggressively moved to secure their own benefit.221

      PRC and CPC officials also moved to silence ordinary citizens simply trying to

document the virus, such as one who was arrested for “spreading rumors” after he

had “post[ed] a video he had filmed of people dying of the virus and the body bags

piled up outside a hospital.”222 This man later joined the growing lists of “whistle-

blowers [who were] ‘disappeared’ by the Chinese government for exposing the

terrifying extent of the Covid-19 outbreak.”223 It is estimated that “[m]ore than 5,100

people were arrested” by Defendants “for sharing information in the first weeks of

the [COVID-19] outbreak.”224

      Defendants’ campaign of censorship also extended to reporters and members

of the news media. In mid-February 2020, the PRC revoked press credentials of three

reporters and expelled them from the country after their news outlet actively covered

the COVID-19 outbreak.225 Chinese citizen journalists who reported on the situation


221  Associated Press, How China Blocked WHO and Chinese Scientists Early in
Coronavirus Outbreak, NBC News (June 2, 2020), https://www.nbcnews.com/health/
health-news/how-china-blocked-who-chinese-scientists-early-coronavirus-outbreak-
n1222246.
222 George Knowles, China’s Disappeared: At Least One Is Dead and the Rest Haven’t

Been Heard from in Months, So Why Isn’t the World Asking What Happened to the
Brave Souls Who Dared to Speak Up about the Coronavirus Outbreak After Beijing
Lied       to    the     World?,     Daily      Mail       (April     18,      2020),
https://www.dailymail.co.uk/news/article-8233203/Chinas-disappeared-happened-
dared-speak-coronavirus.html.
223 Ibid.
224 Ibid.
225 China Expels Three Wall Street Journal Reporters, Wall St. J. (Feb. 19, 2020),

https://www.wsj.com/articles/china-expels-three-wall-street-journal-reporters-
11582100355.


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in Wuhan were rounded up by Defendants and administratively “vanished,”

eventually reappearing only when they were sentenced to years in prison for “picking

quarrels and provoking trouble.”226

       Perhaps most remarkably, despite eventually acknowledging the existence and

spread of COVID, Defendants—including Defendant PRC—“never” actually officially

“notified the WHO about the outbreak in Wuhan.”227 The world was forced to learn

about it only after it was too late.

            v.   Defendants’ suppression of truthful information about the
                 origin and spread of COVID-19 was for pure political
                 purposes.

       Defendants aggressively sought to (quite literally) suppress every possible

piece of COVID-19 information they could plausibly suppress. The purpose of

Defendants’ suppression of this information, which resulted in the rapid spread of

COVID-19 and the untold deaths that followed, is clear: it conflicted with their

carefully constructed political narrative. WIV was already seen by Defendants as a

tool for their political propaganda and, consequently, was long a focus of CPC and

PRC’s political pressure. “[A] series of reports in 2018 and 2019 … collectively portray

a picture of the WIV encountering political pressure to produce scientific



226 Kasim Kashgar, Chinese Journalist Freed After Four Years in Prison for COVID

Reporting, VOA (May 23, 2024), https://www.voanews.com/a/chinese-journalist-
freed-after-four-years-in-prison-for-covid-reporting/7624437.html.
227 House Comm. On Foreign Affairs Report at 10 (citing Michael Ryan, Exec. Dir.,

WHO Health Emergencies Programme, Remarks at the COVID-19 Virtual Press
Conference        (April       20,       2020),      http://www.who.int/docs/default-
source/coronaviruse/transcripts/who-audio-emergencies-coronavirus-press-
conference-20apr2020.pdf).


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breakthroughs while struggling with personnel recruitment, equipment and

construction issues, and the development of a culture of safety.”228 In May 2019, the

National Health Commission of the PRC held a virtual conference for health officials

from all over China.229 At the conference, the directive from the PRC and CPC was

clear: “ensure that no major safety or security accidents occur” that could disrupt the

CPC or PRC’s “stability in the lead up to the 70th anniversary of the founding of the

PRC in October 2019.”230 These comments echoed speeches the deputy secretary of

the CPC committee at WIV gave to researchers only a month prior at the conclusion

of a “political inspection tour,” in which the CPC committee deputy secretary invoked

“the 70th anniversary of the founding of a new China” and the importance of WIV

researchers “speaking from the high point of politics.”231

       While the PRC, CPC, and other Defendants have taken every opportunity to

misrepresent and obfuscate the spread of COVID and its source, they have not

attempted to hide their goal of promoting aggressive, pro-CPC propaganda on the

subject. PRC Chairman Xi has “deployed the party-state’s vast censorship and

surveillance apparatus to quell public criticism of Beijing’s response as well as

discussion of the origin, scope, and severity of the outbreak.”232 Indeed, Defendants’

Politiburo Standing Committee ordered the Cyberspace Administration of China

(CAC) “to ‘take the epidemic prevention and control work as your top political task at


228 Political Chronology Report at 91.
229 Id. at 76
230 Id. at 76–77
231 Id. at 73.
232 Id. at 170.




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present’” and to “‘use the power of the whole organization and the whole system to do

a good job with online propaganda and guidance work.’”233 CAC’s goal in this respect

is described as “forming unity of will into an impregnable stronghold” by

“constructing a favorable atmosphere online.”234 In February 2020, Chairman Xi

himself ordered Defendants’ state security apparatus to “redouble our efforts at

propaganda and public opinion work” on COVID-19 so as to “control public opinion

and diligently strive to create a good public opinion atmosphere.”235

       Political directives by CPC and PRC for the WIV to avoid any actions that

would disrupt the PRC’s “stability” pervaded the next several months after this

speech. Only one month later, Hou Jianguo, the vice president of the CAS, visited

WIV and the Wuhan branch of the CAS.236 Demonstrating “the [CPC]’s preoccupation

with maintaining a political focus on what are ostensibly centers of scientific

research,” Hou “urged the WIV” to “‘[m]aintain a high degree of consistency with the

Party Central Committee with Comrade Xi Jinping at the core in your political

stance, political direction, political principles, and political path from beginning to

end.’”237 These instructions extended to local officials on the ground as well, to terrible

consequences. Then-mayor of Wuhan, Zhou Xianwang, admitted that “the reason it




233 Political Chronology Report at 170.
234 Ibid.
235 Id. at 176.
236 Id. at 78
237 Id. at 78 – 79.




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took so long to warn the public about the virus was that [the mayor] didn’t have

clearance from above.”238

      Much of Defendants’ obfuscations and misrepresentations were performed in

a carefully orchestrated attempt to avoid drawing domestic and international ire for

Defendants’ role in failing to disclose or contain the spread of COVID-19, and to

correspondingly secure a benefit for Defendants from their specialized knowledge of

the virus. After all, “during late 2002 and early 2003, the PRC failed to report the

outbreak of a new and deadly disease within their borders”—the SARS epidemic.239

The SARS epidemic “was not simply a public health problem” for Defendants, but in

fact “caused the most severe socio-political crisis for the Chinese leadership since the

1989 Tiananmen crackdown.”240 Not only then—as now—did the PRC’s “inaction”

and “continuous information blackout” with the SARS epidemic cause the epidemic

to “quickly spread to other parts of China,” but the SARS epidemic “triggered a series

of protests and riots in China.”241 This is a result Defendants desperately wanted to

avoid, both by controlling information and by securing the world’s supply of PPE to

appear publicly responsive to the virus.




238 Coronavirus: Senior Chinese Officials ‘Removed’ As Death Toll Hits 1,000, BBC

(Feb. 11, 2020), https://www.bbc.com/news/world-asia-china-51453848.
239 House Comm. On Foreign Affairs Report at 29.
240 Yanzhong Huang, Implications of SARS Epidemic for China’s Public Health

Infrastructure and Political System: Testimony before the Congressional-Executive
Commission on China Roundtable on SARS (May 12, 2023), https://www.cecc.gov/
sites/evo-subsites/cecc.house.gov/files/documents/roundtables/2003/CECC%20
Roundtable%20Testimony%20-%20Yanzhong%20Huang%20-%205.12.03.pdf.
241 Ibid.




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      Defendants likely sought to suppress information on the origin and spread of

COVID-19, at the heavy expense of millions of deaths242 and untold billions of dollars

of injury born by both Missouri and the rest of the world, in a blatant attempt to avoid

the same political backlash. After all, it could not be plausibly disputed “that the

WIV’s research was broadly funded by the PRC central authorities and had even

received honors from them.”243 It was also clear (although only by piercing the veil of

Defendants’ obfuscation) that “WIV was actively working on at least two projects

involving undisclosed SARS-related bat coronaviruses that they were artificially

adapting to infect human cells” in the weeks and months before a SARS-related bat

coronavirus adapted to infect human cells was detected in the very same city.244

Defendants were already likely aware of the incredibly risky nature of this research.

The 2003 SARS virus, after all, “escaped laboratories on multiple occasions after the

initial epidemic was contained.”245 No matter the actual origin of COVID-19 (an origin

which, as detailed above, points strongly to one of two competing theories), “it would

be difficult for the central leadership in Beijing to distance itself from a serious

research-related incident at the WIV, were such an incident to occur.”246




242   WHO COVID-19 Dashboard, WHO, (last visited Nov. 22, 2024),
https://data.who.int/dashboards/covid19/deaths?n=o (showing a “total cumulative” of
7,074,400 deaths).
243 Political Chronology Report at 63.
244 Ibid.
245 Aksel Fridstrom, Chinese researchers created new corona viruses under unsafe

conditions, Minerva (May 27, 2021), https://www.minerva.no/china-drastic-sars-cov-
2/chinese-researchers-created-new-corona-viruses-under-unsafe-conditions/381476.
246 Ibid.



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       The actions of PRC and CPC leadership appear to demonstrate that they were

acutely aware of (what they perceived to be) these political risks of the pandemic as

soon as COVID-19’s human-to-human transmissibility became clear—months before

Defendants actually disclosed the virus. In September 2019—again, months before

they disclosed any knowledge of COVID-19, but during the period in which evidence

of the spread of the virus first appears—the CPC Central Committee “dispatched the

No. 15 Inspection Control Group” to investigate Defendant CAS.247 This

investigation—which occurred during the first critical months of the pandemic—was

described by the CPC inspection group leader as “‘a comprehensive and personal

political examination of the performance of political responsibilities, duties, and

missions by party organizations [under the] Central Committee and state organs.’”248

The results of this investigation of CAS, conducted during the initial days of the

COVID-19 pandemic were presented to “the [CPC]’s most senior decision-making

body, its Politburo Standing Committee.”249 A heavily redacted July 20, 2020 State

Department memorandum, titled “[REDACTED] Say PRC Central Government –

Not Local Officials – Responsible for the Coronavirus Cover-Up” suggests that the

U.S. Government agrees that Defendants engaged in a state-wide coverup of the

existence and spread of COVID-19. Although much of the contents of the

memorandum remain classified, the headers above each section of the State

Department memorandum tell a clear story: “Who Ordered the Cover Up? The Signs



247 Political Chronology Report at 100.
248 Ibid.
249 Id. at 101.



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Point to Beijing, not Local Officials”; “Beijing Knew Earlier than They Admit”;

“Leaked Directive Confirms Beijing Restricted Disclosure of Virus Information and

Samples”; “Xi Lied to Obfuscate His Role in the Cover-Up”; and ”Initial Outbreak

Could Have Been Contained in China if Beijing Had Not Covered it Up.”250

      D.     COVID-19 thereafter begins to quickly spread in the United
             States and around the world

      The inactions, obfuscations, and misrepresentations of the PRC, CPC, and

other Defendants thereafter led to COVID-19 quickly spreading across the world,

killing millions and shutting down entire cities. The first confirmed case of COVID-

19 in the United States was detected on January 20, 2020.251 The “patient zero” for

the spread of the virus in the United States had returned to the United States from

Wuhan, China, where the patient had been traveling in early January 2020—the

period in which Defendants had unquestionably known about the human-to-human

transmission of the virus, but actively sought to deny its transmissibility and

spread.252 Had Defendants complied with their reporting obligations and not instead

actively sought to conceal the existence, then transmission, then spread of the virus,

the spread of COVID-19 in the United States may have been contained. It is certainly

likely that this traveler to Wuhan, taking the necessary precautions, may not have

been ”patient zero.”


250 Political Chronology Report at 100.
251 Press Release, Ctrs. for Disease Control, First Travel-related Case of 2019 Novel

Coronavirus      Detected    in   United     States    (January     21,    2020),
https://archive.cdc.gov/www_cdc_gov/media/releases/2020/p0121-novel-coronavirus-
travel-case.html.
252 Ibid.




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      Instead, the virus spread rapidly around the country, sickening and killing

hundreds, then thousands, then millions of people. “During the three years of the

COVID-19 pandemic, a total of 21,621 Missourians died of COVID-19 related

deaths.”253 COVID-19 was the third leading cause of death for Missourians in 2020

and 2021, and the fourth leading cause in 2022.254 For the first time since 1911,

Missouri experienced a year-long “natural decrease,” i.e., more deaths than births.

Missouri had a natural decrease for each of the three years from 2020 to 2022. 255

Missourian overall life expectancy decreased 2.6 years from 77.4 in 2019 to 74.8 in

2021.256 All of this was the result of the spread of COVID-19.

                         PROCEDURAL BACKGROUND

      Missouri filed its Complaint on April 21, 2020, asserting several claims related

to the spread of COVID-19 and related harms imposed on the State and its citizens

by Defendants the People’s Republic of China, the Communist Party of China, the

Wuhan Institute of Virology, the National Health Commission of the People’s

Republic of China, Ministry of Emergency Management of the People’s Republic of

China, Ministry of Civil Affairs of the People’s Republic of China, the People’s

Government of Hubei Province, the People’s Government of Wuhan City, and the

Chinese Academy of Sciences. ECF 1.




253 Mo. Dep’t Health & Senior Servs., Missouri COVID-19 Mortality 2020-2022 (Nov.

2023), https://health.mo.gov/data/pdf/20202022-covid-deaths.pdf.
254 Ibid.
255 Ibid.
256 Ibid.



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      After China spent considerable effort resisting service (including asserting

frivolous objections under the Hague Convention in an attempt to defeat service), this

Court granted Missouri’s motion for alternative methods of service on all Defendants.

ECF 22. The non-foreign-state Defendants—the Chinese Academy of Sciences (CAS)

and the Wuhan Institute of Virology (WIV)—were served on May 18, 2021. ECF 23.

Each non-foreign state defendant has failed to appear or file a responsive pleading,

and the Clerk of the Court entered defaults against them on August 17, 2021. ECF

29. Missouri also served Defendant CPC, an alter ego of the foreign-state PRC, on

May 18, 2021, and the Clerk of Court entered a default against the CPC on August

17, 2021. ECF 23, 29. Foreign-state Defendants—the People’s Republic of China and

its five political subdivisions—were served with process through diplomatic channels

on October 7, 2021. ECF 36–41. All of these Defendants, likewise, have failed to

appear or file a responsive pleading. The Clerk of Court entered defaults against each

of these Defendants on December 15, 2021. ECF 44. On July 8, 2022, this Court

dismissed each count of Missouri’s Complaint for lack of subject matter jurisdiction.

ECF 61. Missouri appealed the dismissal of its Complaint. ECF 63.

      On January 10, 2024, the Eighth Circuit affirmed in part and reversed in part

this Court’s July 8, 2022 Order. Missouri ex rel. Bailey, 90 F.4th at 940. The court in

Missouri ex rel. Bailey concluded that each defendant was subject to the immunities

offered by the FSIA as either a “foreign state” (in the case of the PRC and its political

subdivisions), an “agency or instrumentality of a foreign state” (in the case of the

Wuhan Institute of Virology and Chinese Academy of Sciences), or, in the case of CPC,



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an entity that “is in substance the same body politic that governs [China],” and

therefore also a foreign state defendant under the FSIA. Id. at 934–36. “The Foreign

Sovereign Immunities Act, in other words, shields [each Defendant] from Missouri’s

lawsuit unless a statutory exception applies.” Id. at 936.

       Analyzing the exceptions to the Foreign Sovereign Immunities Act, the Eighth

Circuit concluded that Count IV of Missouri’s Complaint, that Defendants “hoarded

personal-protective equipment while the rest of the world was in the dark about the

disease,” satisfied the commercial-activity exception to the FSIA. Missouri ex rel.

Bailey, 90 F.4th at 934, 940. Reviewing the hoarding claim, the Eighth Circuit

observed that Missouri’s claim, which asserts both “that the [D]efendants hoarded

masks and then sold lower-quality equipment in the United States” and “that China

t[ook] over factories that ma[de] masks on behalf of American companies, which

essentially halted the export of high-quality masks to the United States,” together

“identify classic anticompetitive behavior, except on a country-wide scale.” Id. at 938

(internal quotation marks omitted). “Taking over mask-producing factories and

buying up a substantial portion of the world’s supply of personal-protective

equipment are actions of a ‘private player’ in the market,” and “[t]he same goes for

the act of selling those items for a profit.” Id.

       If Defendants “bought up much of the rest of the world’s supply of masks,” the

Eighth Circuit observed that it would mean that supply reductions “led to an

immediate shortage in Missouri, which then allowed the [D]efendants to enter the

market and sell lower-quality masks.” Id. (internal quotation marks omitted). As a



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result “[h]ealthcare providers in Missouri either paid higher prices for the masks they

could find or dealt with shortages that . . . made it difficult to safely and effectively

treat[] patients with the virus.” Id. (internal quotation marks omitted). “Although the

underlying activity was economic,” Missouri also “suffered effects beyond just

financial loss.” Id.

       Furthermore, the Eighth Circuit held that “China’s market power and its

superior knowledge about the virus meant that no one else other than the defendants

had to act to create those effects.” Id. Defendants “singlehandedly t[ook] over factories

that ma[d]e masks and cornered the market before the rest of the world realized what

was happening.” Id. (internal quotation marks omitted) Then, “when the virus spread

and people all over the world became sick, China was able to maintain its stockpile

[of PPE] and prolong the shortage.” Id. Given Defendants’ significant market power,

“[t]he most basic supply-and-demand principles tell us that these market effects

depended little, if at all, on variables independent of the defendants’ conduct given

the information asymmetry and tight timeframe that existed at the time.” Id.

(internal quotation marks omitted).

       On May 23, 2024, this Court entered a scheduling order setting a Foreign

Sovereign Immunity Act hearing and directing Missouri to file, among other things,

an FSIA pretrial brief and any written evidence in support of the State’s claims. ECF

76. Missouri now does so.




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                              STANDARD OF REVIEW


      Each Defendant was properly served with a copy of the summons and

complaint in this lawsuit. ECF 23, 36–41. Each Defendant thereafter chose to ignore

this lawsuit, failing to plead or otherwise defend themselves against Missouri’s

claims. Under Federal Rule of Civil Procedure 55, the Clerk of Court may enter a

default and the plaintiff may apply to the court for a default judgment. Plaintiffs have

done so, and the Clerk of Court has noted each Defendant’s default. ECF 29, 44.

      Although default would normally be the end of the story, each Defendant’s

status as a foreign state, political subdivision of a foreign state, or agency or

instrumentality of a foreign state adds a final step. Under the FSIA, “[n]o judgment

by default shall be entered by a court of the United States or of a State against a

foreign state, a political subdivision thereof, or an agency or instrumentality of a

foreign state, unless the claimant establishes his claim or right to relief by evidence

satisfactory to the Court.” 28 U.S.C. § 1608(e). Missouri, in other words, must provide

“evidence satisfactory to the court” on its claims of liability and damages before it

may recover against Defendants.

      “To prevail in an FSIA default proceeding, the plaintiff[] must present a legally

sufficient prima facie case, in other words, ‘a legally sufficient evidentiary basis for a

reasonable jury to find for the plaintiff.’” Kilburn v. Islamic Republic of Iran, 699

F.Supp.2d 136, 150 (D.D.C. 2010) (quoting Gates v. Syrian Arab Republic, 580

F.Supp.2d 53, 63 (D.D.C. 2008)). The FSIA’s “‘satisfactory to the court’ standard is

identical to the standard for entry of default judgments against the United States in



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Federal Rule of Civil Procedure 55([d]).” Owens v. Republic of Sudan, 826 F.Supp.2d

128, 134 (D.D.C. 2011); see also Fed. R. Civ. P. 55(d) (“A default judgment may be

entered against the United States, its officers, or its agencies only if the claimant

establishes a claim or right to relief by evidence that satisfies the court.”). In

reviewing a plaintiff’s claim against a defaulting defendant subject to the FSIA, “the

court may ‘accept as true the plaintiffs’ uncontroverted evidence.’” Owens, 826

F.Supp.2d at 135 (quoting Elahi v. Islamic Republic of Iran, 124 F.Supp.2d 97, 100

(D.D.C. 2000)); see also Shourd v. Government of Islamic Republic of Iran, Case No.

22-cv-1309, 2024 WL 4346330 (Sep. 30, 2024) (slip copy) (same); Gates, 580 F.Supp.2d

at 63 (“By its failure to appear and defend itself [the foreign sovereign] put itself at

risk that the Plaintiffs’ uncontroverted evidence would be satisfactory to prove its

points.”).

       Courts have applied a “lenient standard” for factual findings by a trial court in

FSIA default hearings, recognizing that “firsthand evidence and eyewitness

testimony is difficult or impossible to obtain from an absent and likely hostile

sovereign.” Owens v. Republic of Sudan, 864 F.3d 751, 785 (D.C. Cir. 2017) (reversed

on other grounds). “Given the difficulty of obtaining direct proof of the types of

conduct for which the FSIA provides a remedy, the statute permits courts to credit

indirect evidence and to impose a lower evidentiary burden than they might apply in

a different context.” Saharkhiz v. Islamic Republic of Iran, case no. 19-cv-2938, 2023

WL 9196605, at *5 (D.D.C. Oct. 16, 2023) (slip copy). Such an evidentiary standard is

especially appropriate here, where Defendants have “refused to appear in court and



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subject [themselves] to discovery, and [are] known to intimidate defectors and

potential witnesses.” Han Kim v. Democratic People’s Republic of Korea, 774 F.3d

1044, 1048 (D.C. Cir. 2014). In such situations, “the Supreme Court has ‘recognize[d]

very realistically’ that courts have the authority—indeed, we think, the obligation—

to ‘adjust [evidentiary requirements] to … differing situations.’” Id. (citing Bundy v.

Jackson, 641 F.2d 934, 951 (D.C. Cir. 1981); McDonnell Douglas Corp. v. Green, 411

U.S. 792, 804 (1973)); see also Thuneibat v. Syrian Arab Republic, 167 F.Supp.3d 22,

33 (D.D.C. 2016) (citing Han Kim). This approach recognizes the inherent difficulties

of a plaintiff litigating a case (something normally not necessary against a defaulting

defendant) against a party for which the plaintiff cannot seek or obtain discovery (a

limitation not normally the case if the defendant appears and responds to the

lawsuit). In other words, the standard recognizes the practical realities of

demonstrating a claim against a hostile (and defaulting) state, and “is part of the risk

a sovereign runs when it does not appear” after it has been properly served. Id. at

786.

       “A plaintiff may submit multiple types of evidence to support FSIA claims,

including ‘testimony, documentation, and affidavits.’” Saharkhiz, 2023 WL 9196605,

at *5 (quoting Miango v. Democratic Republic of Congo, 288 F.Supp.3d 117, 123

(D.D.C. 2018) (citing cases) (vacated on other grounds)). For example, a plaintiff may

establish a defaulting foreign state defendant’s liability through “evidence in the form

of live testimony, videotaped testimony, affidavit, and original documentary and

videographic evidence.” Owens, 826 F.Supp.2d at 135; see also Karcher v. Islamic



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Republic of Iran, 396 F.Supp.3d 12, 16 n.3 (D.D.C. 2019) (allowing “official U.S.

Government reports, records, and statements” as evidence in a FSIA default hearing

“[u]nder the public records exception to the hearsay rule.”); Rux v. Republic of Sudan,

495 F.Supp.2d 541, 544 (E.D. Va. 2007) (including as evidence at the FSIA hearing

“unclassified U.S. Department of State Reports; the 9/11 Commission Report; Final

Report of the National Commission on Terrorist Attacks Upon the United States” and

“a transcript of federal criminal proceedings against Osama Bin Laden in 2001.”);

Sotloff v. Syrian Arab Republic, 525 F.Supp.3d 121, 127 n.1–n.3 (considering as

evidence in a FSIA default hearing “The State Department Overview of State-

Sponsored Terrorism” as “a public record,” taking “judicial notice of facts” found in

other judicial decisions in that circuits, and “written testimony and reports of

Plaintiffs’ expert witnesses.”); Elahi, 124 F.Supp.2d at 99–100 (noting that the court

accepted 105 documentary exhibits in a FSIA trial against defendants who were in

default); Saharkhiz, 2023 WL 9196605, at *8 (considering evidence composed of the

plaintiff’s “own testimony and several news articles, publications, and reports”

documenting the plaintiff’s claims); Calderon-Cardona v. Democratic People’s

Republic of Korea, 723 F.Supp.2d 441, 460–61 (D.P.R. 2010) (finding that plaintiffs

satisfied their burden of the FSIA through “live and affidavit testimony” and

“affidavits and reports.”).

      A defaulting defendant under the FSIA is deemed to have forfeited any

affirmative defenses the defendant could have raised in response to the lawsuit,

unless there are distinct and narrow circumstances, not relevant here, “in which the



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judiciary’s own interests are implicated and the forfeiting party is present in the

litigation.” Maalouf v. Islamic Republic of Iran, 923 F.3d 1095, 1112 (D.C. Cir. 2019);

see also id. at 1113 (“It is not the responsibility of the courts to act sua sponte to raise

affirmative defenses on behalf of [FSIA] defendants who do not appear to defend

actions against them.”). Additionally, “there is no room for courts to engage in

discretionary, comity-based interest-balancing to decide ‘whether and when to

exercise judicial power over foreign states.’” Id. (quoting Republic of Argentina v.

NML Capital, Ltd., 573 U.S. 134, 140 (2014)). “The purpose of the FSIA was to put

an end to that method of decisionmaking on questions of foreign sovereign immunity,”

and “the Supreme Court has been clear in its FSIA jurisprudence that it is not for the

courts    ‘to   consider   the   worrisome   international-relations    consequences’    of

adjudicating actions under the FSIA.” Id. at 1113 (quoting NML Capital, 573 U.S. at

146).

                                      ARGUMENT

I.       Defendants have breached their duty of care by hoarding personal
         protective equipment and allowing the export of ineffective personal
         protective equipment, all while knowing (and suppressing) the
         dangers of COVID-19 and the necessity of personal protective
         equipment.

         Count IV of Missouri’s Complaint alleges that Defendants harmed Missouri

and its residents by hoarding PPE during a time when Defendants had specialized

knowledge of the COVID-19 pandemic. “Missouri’s overarching theory is that China

leveraged the world’s ignorance about COVID-19,” including “by manipulating the

worldwide personal-protective-equipment market.” Missouri ex rel. Bailey, 90 F.4th

at 939. The Eighth Circuit held that these claims, if demonstrated with sufficient

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evidence, “identify classic anticompetitive behavior, except on a country-wide scale.”

Id. at 938. In other words, Missouri has already “alleged enough to allow the claim to

proceed”—it must just “prove it.” Id. at 939 (emphasis and internal quotations

omitted). Through this pretrial brief and the FSIA hearing, Missouri does just that.

      A.     Defendants’ hoarding of PPE

      Personal Protective Equipment (PPE) generally “refers to worn articles or

equipment that help minimize exposure to various hazards, including infectious

pathogens like … COVID-19.”257 Examples of PPE “include surgical masks, N95

respirators, sterile gloves, surgical gowns, [and] face shields,” as well as “medical

articles or devices” and “testing supplies, hand sanitizer, [and] prophylaxes.”258

      PPE played a key role “in mitigating the spread and reducing the impacts of

COVID-19,” and “[t]he availability of effective PPE [was] critical to [Missouri’s]

pandemic response.”259 Consequently, a lack of PPE for healthcare professionals,

especially early in the pandemic, significantly hampered Missouri’s pandemic

response. It also forced the State of Missouri, its healthcare providers, and its

citizens, to pay significantly higher prices to obtain the limited PPE available after

Defendants took aggressive early steps to hoard it. As late as at least December 2020,

“[PPE] shortages continue[d] to be a factor in the ongoing … response to the COVID-

19 pandemic.”260



257 Michael H. Cecire, Cong. Rsch.   Serv., R46628, COVID-19 and Domestic PPE
Production and Distribution: Issues and Policy Options (Dec. 7, 2020).
258 Ibid.
259 Ibid.
260 Ibid.



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      Missouri’s “hoarding claim … takes aim at the production, purchasing, and

import and export of medical equipment, such as personal[-]protective equipment

(‘PPE’), used in COVID-19 efforts.” Missouri ex rel. Bailey, 90 F.4th at 938 (internal

quotation marks omitted). “One allegation is that the defendants hoarded masks and

then sold lower-quality equipment in the United States. The other is that China

t[ook] over factories that ma[de] masks on behalf of American companies, which

essentially halted the export of high-quality masks to the United States.” Id. As the

Eighth Circuit held, “[t]aking over mask-producing factories and buying up a

substantial portion of the world’s supply of personal-protective equipment are the

actions of a ‘private player’ in the market. The same goes for the act of selling those

items for a profit.” Id. And this behavior is not only that of a private commercial

player: it is “anticompetitive behavior.” Id. As Missouri details below and in the

written evidence provided to the Court, both allegations are supported by significant

evidence demonstrating Defendants’ “anticompetitive behavior.”

      Defendants owed duties pursuant to state and federal statutory and regulatory

authorities to not engage in anticompetitive acts. Under Missouri statutory law, it is

unlawful to contract or conspire to restrain trade or commerce in Missouri. Mo. Rev.

Stat. § 416.031.1. It is equally “unlawful to monopolize, attempt to monopolize, or

conspire to monopolize trade or commerce in” Missouri. Id. § 416.031.2. It is “the

duty of the attorney general to enforce the provisions of” Missouri’s antitrust laws.

Id. § 416.061.2. Another form of anticompetitive behavior is price gouging, which is

an unfair practice under Missouri’s Merchandising Practices Act (MMPA).             Id.



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§ 407.020; 15 C.S.R. § 60-8.030(1). Missouri’s Attorney General is authorized to

enforce the MMPA. See, e.g., Mo. Rev. Stat. §§ 407.040, .090.

      Much of the same can be said under federal antitrust law. First, “Every

contract, combination in the form of trust or otherwise, or conspiracy, in restraint of

trade or commerce . . . with foreign nations, is declared to be illegal.” 15 U.S.C. § 1.

Second, it is likewise unlawful for any person to “monopolize, or attempt to

monopolize, or combine or conspire with any other person or persons, to monopolize

any part of the trade or commerce . . . with foreign nations.” Id. § 2. Third, “[e]very

combination, conspiracy, trust, agreement, or contract is declared to be contrary to

public policy, illegal, and void when the same is made by or between two or more

persons or corporations, either of whom, as agent or principal, is engaged in importing

any article from any foreign country into the United States, and when such

combination, conspiracy, trust, agreement, or contract is intended to operate in

restraint of lawful trade, or free competition in lawful trade or commerce, or to

increase the market price in any part of the United States of any article or articles

imported or intended to be imported into the United States, or of any manufacture

into which such imported article enters or is intended to enter.” Id. § 8. Fourth, it is

“unlawful for any person engaged in commerce, in the course of such commerce, to

lease or make a sale or contract for sale of goods, wares, merchandise, machinery,

supplies, or other commodities, whether patented or unpatented, for use,

consumption, or resale within the United States or any Territory thereof or the

District of Columbia or any insular possession or other place under the jurisdiction of



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the United States, or fix a price charged therefor, or discount from, or rebate upon,

such price, on the condition, agreement, or understanding that the lessee or

purchaser thereof shall not use or deal in the goods, wares, merchandise, machinery,

supplies, or other commodities of a competitor or competitors of the lessor or seller,

where the effect of such lease, sale, or contract for sale or such condition, agreement,

or understanding may be to substantially lessen competition or tend to create a

monopoly in any line of commerce.” Id. § 14. “Any attorney general of a State may

bring a civil action in the name of such State, as parens patriae on behalf of natural

persons residing in such State, in any district court of the United States having

jurisdiction of the defendant, to secure monetary relief as provided in this section for

injury sustained by such natural persons to their property by reason of any violation

of sections 1 to 7 of” 15 U.S.C. Id. § 15c(a)(1).

       Each of these provisions created independent duties for Defendants to not

engage in anticompetitive hoarding actions in the purchase and sale of PPE. As

demonstrated below, Defendants’ campaign to hoard PPE in the early days of the

pandemic, which included aggressive, intentional nationalization of American

factories producing PPE and the hoarding of PPE manufactured or for sale in the

United States, amounts to anticompetitive acts violating each of these duties. What’s

more, all of these acts were taken in conjunction with Defendants’ repeated,

affirmative misrepresentations about both the transmissibility of COVID-19 and

scope of the early pandemic.




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           i.   Nationalization of American Factories producing PPE

      One of the key ways Defendants hoarded PPE early in the pandemic was by

taking unlawful, anticompetitive steps to nationalize U.S. factories producing PPE in

China and by prohibiting the export of PPE from U.S. factories in China to the United

States. “[By at least] early February 2020, the Chinese government nationalized

control of the production and dissemination of medical supplies in China.”261 To

accomplish this, Defendants “transferred authority over the production and

distribution of medical supplies from the Ministry of Information Industry and

Technology (MIIT) to [PRC’s National Development and Reform Commission

(NDRC)], China’s powerful central economic planning ministry.”262 Defendants’

actions transferring authority over the production and distribution of medical

supplies to PRC’s economic planning ministry had an immediate effect. NDRC

quickly “commandeered medical manufacturing and logistics down to the factory

level and directed the production and distribution of all medical-related production,

including U.S. companies’ production lines in China, for domestic use.”263

      Additionally, Defendants engaged in a number of “soft” or “informal”

regulatory measures that had the purpose of limiting PPE exports to the United



261 Karen M Sutter, et al., Cong. Rsch. Serv., R46304, COVID-19: China Medical

Supply Chains and Broader Trade Issues 15 (Dec. 23, 2020); see also Michael H.
Cecire, Cong. Rsch. Serv., R46628, COVID-19 and Domestic PPE Production and
Distribution: Issues and Policy Options (Dec. 7, 2020) (“[By at least] early February
2020, the Chinese government nationalized control of the production and distribution
of medical supplies in China, including PPE.”).
262 Ibid.
263 Ibid.




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States. For example, “some U.S. legal experts observed that China may have used

informal measures, such as administrative guidance, to prioritize exports to certain

countries ahead of the United States.”264 Several U.S. manufacturers with factories

based in China have stated “that the PRC would not authorize them to export PPE

produced in their [Chinese] facilities” to the United States.265

      All of these actions by Defendants had the intended effect. The nationalization

of U.S. factories in China “enabled the PRC to increase production of face masks from

20 million to more than 100 million per day, at the expense of foreign companies being

allowed to export their products.”266 Although “China made half the world’s masks

before the coronavirus emerged there,” and “has expanded production nearly 12-fold

since then,” Defendants have “claimed [the] mask factory output for [themselves].”267

Peter Navarro, then a Presidential advisor on manufacturing and trade, directly

characterized   Defendants’    actions   as    effectively   “nationaliz[ing]”   American

factories.”268 All of this is on top of the fact that “China did not just stop selling

masks,” but “also bought up much of the rest of the world’s supply.”269




264 Karen M Sutter, et al., Cong. Rsch. Serv., R46304, COVID-19: China Medical

Supply Chains and Broader Trade Issues (Dec. 23, 2020).
265 House Comm. On Foreign Affairs Report at 33.
266 Ibid. (emphasis added).
267 Keith Bradsher & Liz Alderman, The World Needs Masks. China Makes Them, but

Has       Been    Hoarding     Them,    N.Y.     Times     (April   2,   2020),
https://web.archive.org/web/20240826064944/https://www.nytimes.com/2020/03/13/b
usiness/masks-china-coronavirus.html.
268 Ibid.
269 Ibid.




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      Defendants were also well aware of the effects of this nationalization on U.S.

healthcare and medical systems. In March 2020, for example, a state-run press

agency remarked that Defendants, by choosing to ban various exports (such as

pharmaceutical ingredients), could “plunge[] [the United States] into the mighty sea

of coronavirus.”270 In that same month, the U.S. Federal Emergency Management

Agency (FEMA) and Department of Health and Human Services (HHS) depleted “the

remaining PPE held in the HHS Strategic National Stockpile.”271

      As the Congressional Research Service concluded in a December 2020 report,

Defendants’ actions to nationalize U.S. factories and limit any export of PPE “may

have denied the United States and other countries that depend on open and free

markets for their health care supply chains timely access to critical medical

supplies.”272 A House of Representatives report was even more damning: ”[i]t is highly

likely that China’s nationalization of the manufacturing capacity of foreign

companies, including 3M and General Motors, directly impacted the ability of the

United States and other countries to procure PPE on the global market.”273

          ii.   Defendants actively hoarded PPE manufactured or for sale in
                the United States

      In addition to nationalizing U.S. factories, Defendants took aggressive steps to

capitalize on their unequal knowledge of the existence and transmissibility of



270 House Comm. On Foreign Affairs Report at 34.
271 Michael H. Cecire, Cong. Rsch.   Serv., R46628, COVID-19 and Domestic PPE
Production and Distribution: Issues and Policy Options (Dec. 7, 2020).
272 Karen M Sutter, et al., Cong. Rsch. Serv., R46304, COVID-19: China Medical

Supply Chains and Broader Trade Issues (Dec. 23, 2020).
273 House Comm. On Foreign Affairs Report at 33.



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COVID-19 to hoard PPE. All of this occurred while Missouri (and the rest of the

world) was left in the dark on the dangers of COVID-19—a darkness caused by

Defendants’ own actions. “In January and February 2020, . . . the Chinese

government organized a large-scale purchase of PPE for China on the global market,

depleting existing supplies in the United States and other countries such as Australia

and Canada.”274 To accomplish this goal, “China’s Ministry of Commerce (MOFCOM)

. . . called on its regional offices in China and overseas to work with PRC industry

associations to prioritize securing [PPE] from global sources and importing these

products.”275 Circulars issued by the PRC euphemistically characterized as

“facilitating the import” of PPE in fact “directed the national bureaucracy, local

governments, and Chinese industry to secure supplies from global markets.”276 Along

with these circulars, Defendants “provided a list of 51 medical suppliers and

distributors in 14 countries and regions to target in quickly assuring supply.” 277

Chinese trade data reflects that “these policies led to steep increases in China’s

imports of essential PPE and medical supplies,” which corresponded with “sharp

decreases in China’s exports of these critical medical products to the world.”278




274 Michael H. Cecire, Cong. Rsch.  Serv., R46628, COVID-19 and Domestic PPE
Production and Distribution: Issues and Policy Options (Dec. 7, 2020) (emphasis
added).
275 Karen M Sutter, et al., Cong. Rsch. Serv., R46304, COVID-19: China Medical

Supply Chains and Broader Trade Issues (Dec. 23, 2020).
276 Ibid.
277 Ibid.
278 Ibid.




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       Breakdowns of Chinese exports and imports demonstrates that Defendants

were successful in their efforts to hoard PPE manufactured or for sale in the United

States.279 The Congressional Research Service prepared a table demonstrating the

change of China’s exports and imports of critical PPE products between January–

February 2019 and January–February 2020. The table demonstrates the percentage

change of China’s exports of these PPE to the United States and world, as well as

China’s import of critical PPE from the United States and the rest of the world.




279 Id. at 13-14.



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Source: CRS, COVID-19: China Medical Supply Chains and Broader Trade Issues

(Dec. 23, 2020), p. 13.

      The trade data in the table is shocking. In January and February 2020—which

includes at least some of the time Defendants affirmatively had knowledge of, but

denied, human-to-human transmissibility of COVID-19—China’s import of N95

masks and other protective masks (traditionally classified under the tariff category

of “Made-Up Textile Articles”) from the United States280 increased by 1,615%. In

other words, in January and February 2020 China, one of the world's largest

producers of PPE, imported over sixteen times as many medical masks from just the

United States alone, all while affirmatively misrepresenting its knowledge about both

the scope and human-to-human transmissibility of COVID-19. Similarly shocking

examples of the scope of Defendants’ hoarding of PPE manufactured or for sale in the

United States abound. Defendants’ imports of disposable hospital gowns from the

United States during the period of January and February 2020 increased by over

297,288%, while Defendants’ imports of gloves and medical sterilizers from the

United States increased by 514% and 317%, respectively. In absolute terms, this had

the effect of tens of millions of articles of PPE flowing from the United States to China

every week. On January 30, 2020, alone, for example, Defendants “import[ed] 20

million respirators and surgical masks in just 24 hours.”281


280 The table’s reference to “imports” references Chinese imports from the United

States and world, and the table’s reference to “exports” references Chinese exports to
the United States and world.
281 Keith Bradsher & Liz Alderman, The World Needs Masks. China Makes Them, but

Has      Been    Hoarding       Them,      N.Y.     Times       (April   2,    2020),


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      Direct examples of Defendants’ campaign to hoard PPE purchased from other

countries besides the United States during the early months of the pandemic also

abound. One notable fact about Defendants’ campaign is Defendants’ attempts to

mask their initial purchases of PPE. Defendants’ “efforts were often implemented

through non-traditional buyers, likely in an effort to reduce competition.”282 In

Australia, CPC-affiliated companies “had staff secure more than 100 tonnes of

equipment and ship it” to the PRC.283 These shipments, made in February 2020,

included 100,000 medical gowns, 1,400,000 pairs of gloves, 3 million protective

masks, and 700,000 hazmat suits.284 All of these actions to hoard PPE occurred “at

the direction of the PRC government.”285 Defendants’ efforts to ship as much PPE to

PRC as possible went so far as to compel Australia to “place[] severe, immediate and

indefinite restrictions on all foreign investment bids” during the pandemic.286

      The trade data from the early days of the pandemic—including the period

during which Defendants affirmatively misrepresented their knowledge of the



https://web.archive.org/web/20240826064944/https://www.nytimes.com/2020/03/13/b
usiness/masks-china-coronavirus.html.
282 House Comm. On Foreign Affairs Report at 34
283 Phillip Coorey, China Spree Sparks FIRB Crackdown, Fin. Rev. (Mar. 29, 2020),

https://www.afr.com/politics/federal/china-spree-sparks-firb-crackdown-20200329-
p54exo.
284 Kate McClymont, Second Developer Flew 82 Tonnes of Medical Supplies to China,

Sydney Morning Herald (Mar. 26, 2020), https://www.smh.com.au/national/second-
developer-flies-82-tonnes-of-medical-supplies-to-china-20200326-p54e8n.html?_gl=1
*loxv4c*_ga*MTM0NzQ3MTQ0LjE3MjQ5NjU4NzE.*_ga_7P81FZJZ1C*MTcyNDk2
NTg3MC4xLjEuMTcyNDk2NTg4OC40Mi4wLjA.
285 House Comm. On Foreign Affairs Report at 34 (emphasis omitted).
286 Phillip Coorey, China Spree Sparks FIRB Crackdown, Fin. Rev. (Mar. 29, 2020),

https://www.afr.com/politics/federal/china-spree-sparks-firb-crackdown-20200329-
p54exo.

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transmissibility of the virus and number of people infected with COVID-19—

demonstrates a concentrated effort to hoard PPE for sale in the United States. The

U.S. Department of Homeland Security has already concluded as much, and did not

mince words: according to a 2020 Department of Homeland Security Economic

Security Mission Center report only later declassified, “the Chinese Government

intentionally concealed the severity of COVID-19 from the international community in

early January while it stockpiled medical supplies by both increasing imports [(i.e.,

purchasing and hoarding medical supplies from other parts of the world)] and

decreasing exports [(i.e., nationalization of factories)].”287 Furthermore, the Federal

Government concluded that “the Chinese Government attempted to hide its actions

by denying there were export restrictions and obfuscating and delaying provision of

this trade data.”288 The Department of Homeland Security, like Missouri, relied in

part on changes in trade data to observed that “China substantially increased its

imports of surgical facemasks (278 percent), surgical gowns (72 percent), and surgical

gloves (32 percent)” in a manner which “would have [to be] started . . . in early

January for those purchases to be reflected in worldwide January export statistics.”289

In fact, according to DHS, Defendants “likely delayed informing the WHO on 20

January 2020, that COVID-19 was a contagion until after it purchased medical



287 Econ. Sec. Mission Ctr., Dep’t of Homeland Sec., New Analytic Technique Indicates

China Likely Hid Severity of COVID-19 from the International Community While it
Stockpiled Medical Supplies (May 1, 2020), https://www.dhs.gov/sites/default/
files/publications/china_and_covid-19.pdf (emphasis added).
288 Ibid.
289 Ibid.




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supplies from abroad.”290 The U.S. Department of Homeland Security has concluded,

with “a 95 percent probability,” that “these increased imports and decreased exports

of medical supplies were not within a normal range.”291 Instead, it represented an

intentional campaign by Defendants to hoard PPE manufactured or for sale in the

United States.

       Defendants were also clearly successful in their goal to hoard PPE, to the

detriment of Missouri. “As a result of intentional efforts to mislead the global

community and delays in releasing factual information about the virus, [Defendants’]

cover-up greatly impacted the global response to COVID-19.”292 In fact, Defendants’

actions “likely exacerbated medical supply shortages in the United States and other

countries” precisely when the supplies were needed most.293 Missouri addresses these

harms at length infra.

       The effects of Defendants’ actions on Missouri (and, indeed, the rest of the

country) continued to be felt long after they occurred. Despite later efforts to combat

PPE shortages caused by Defendants’ hoarding, these shortages “continued to be

reported into the summer and fall of 2020.”294 In other words, for at least the first

year of the pandemic, Missouri was forced to continue to bear the harms of

Defendants’ anticompetitive actions.




290 Ibid (emphasis added).
291 Ibid.
292 House Comm. On Foreign Affairs Report at 35.
293 Ibid.
294 Michael H. Cecire, Cong. Rsch.   Serv., R46628, COVID-19 and Domestic PPE
Production and Distribution: Issues and Policy Options (Dec. 7, 2020).

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       B.     In hoarding PPE and selling defective PPE to Missouri,
              Defendants breached multiple duties to not engage in
              fraudulent and deceptive practices in their misrepresentations
              surrounding the spread of COVID-19 and hoarding of PPE in
              conjunction with these misrepresentations.

       Defendants breached not only duties to not engage in anticompetitive behavior,

but also breached their duties to not engage in fraudulent and deceptive practices.

As previously noted, “Missouri’s overarching theory is that China leveraged the

world’s ignorance,” including “by manipulating the worldwide personal-protective-

equipment market.” Missouri ex rel. Bailey, 90 F.4th at 939. Part of Defendants’

“leverag[ing] [of] the world’s ignorance” included aggressively promoting false

statements and misrepresentations surrounding COVID.

       Defendants owed duties as commercial actors pursuant to state and federal

statutory and regulatory laws to not engage in deceptive commercial activity. The

MMPA, as first adopted by the legislature in 1967, protects consumers by expanding

the common law definition of fraud “to preserve fundamental honesty, fair play and

right dealings in public transactions.” Watson v. Wells Fargo Home Mortg., Inc., 438

S.W.3d 404, 407 (Mo. 2014). Thus, under Missouri statutory law, it is an unlawful

practice for any person to “act, use or employ[] . . . any deception, fraud, false pretense,

false promise, misrepresentation, unfair practice or the concealment, suppression, or

omission of any material fact in connection with the sale or advertisement of any

merchandise in trade or commerce . . . in or from the state of Missouri.” Mo. Rev.

Stat. § 407.020.1. The words “unfair practice” are ““unrestricted, all-encompassing

and exceedingly broad.” Conway v. CitiMortgage, Inc., 438 S.W.3d 410, 416 (Mo.

2014) (quoting Ports Petroleum Co., Inc. of Ohio v. Nixon, 37 S.W.3d 237, 240 (Mo.

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2001)). “[T]he literal words cover every practice imaginable and every unfairness to

whatever degree.” Conway, 438 S.W.3d at 416 (quoting Ports Petroleum Co., 37

S.W.3d at 240). Missouri’s Attorney General is authorized to enforce the MMPA. See,

e.g., Mo. Rev. Stat. §§ 407.040, .090.

      The Federal Trade Commission Act prohibits much of the same.             “Unfair

methods of competition in or affecting commerce, and unfair or deceptive acts or

practices in or affecting commerce, are hereby declared unlawful.”          15 U.S.C.

§ 45(a)(1). It is “unlawful for any person, partnership, or corporation to disseminate,

or cause to be disseminated, any false advertisement—(1) By United States mails, or

in or having an effect upon commerce, by any means, for the purpose of inducing, or

which is likely to induce, directly or indirectly the purchase of food, drugs, devices,

services, or cosmetics; or (2) By any means, for the purpose of inducing, or which is

likely to induce, directly or indirectly, the purchase in or having an effect upon

commerce, of food, drugs, devices, services, or cosmetics.” Id. § 52.

      “[A]n alleged misrepresentation actionable under Section 10(b)—just like a

claim for common-law fraud—arises ‘where its economic impact is felt, normally the

plaintiffs' residence.’” Atlantica Holdings v. Sovereign Wealth Fund Samruk-Kazyna

JSC, 813 F.3d 98, 110 (2d Cir. 2016). “[T]he locus of an alleged misrepresentation

actionable under Section 10(b) is the forum ‘where the loss is sustained, not where

fraudulent misrepresentations are made.’” Atlantica Holdings v. Sovereign Wealth

Fund Samruk-Kazyna JSC, 813 F.3d 98, 109 (2d Cir. 2016). Defendants breached




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their duties when they engaged in massive, large-scale fraud in conjunction with their

commercial actions.

       Furthermore, Defendants’ duties are not limited only to not engaging in fraud

or misrepresentation but, in certain medical circumstances, extend to an affirmative

duty to disclose. In 2005, the WHO Member States, of which PRC is a member, agreed

to amendments of the International Health Regulations (IHR)—a “legally binding

instrument that obligates all Member States of the WHO to carry out certain public

health functions.”295 Relevant here, “Article 6 requires Member States to inform the

WHO of all events occurring within their borders that may constitute a Public Health

Emergency of International Concern (PHEIC).”296 Article 6 lays out the framework

for what constitutes a PHEIC.297 By at least “as early as mid-December, and no later

than December 27th”—indeed, as demonstrated above, likely even much earlier than

December—Defendants “had enough information to assess [they were] legally

obligated to inform the WHO that the outbreak in Wuhan was an event ‘that may

constitute a Public Health Emergency of International Concern.’”298 Defendants

“failure to notify the WHO about the [COVID-19] outbreak was a violation of Article

6 of the IHR,” and Defendants failure to report that the COVID-19 patients they were




295 House Comm. On Foreign Affairs Report at 29.
296 Ibid.
297 WHO, WHO Guidance for the Use of Annex 2 of the International Health
Regulations (2005) (Apr. 6, 2010), https://www.who.int/publications/m/item/who-
guidance-for-the-use-of-annex-2-of-the-international-health-regulations-(2005).
298 House Comm. On Foreign Affairs Report at 29–30.




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treating met the “clinical definition of SARS” was also an independent violation of

Article 6 of the IHR.299

      Defendants’ actions to hoard PPE directly profited from Defendants’

affirmative misrepresentations and obfuscations of the origin, danger, scope, and

transmissibility of COVID-19. As Zuo-Geng Zhang, an epidemiologist at the

University of California observed, if Defendants had released data on COVID-19 in a

timely manner (or, indeed, had not taken numerous steps to aggressively silence

those trying to share data), “there would have been much fewer patients and medical

facilities would have been sufficient.”300

      Indeed, by some estimations, Defendants PRC and CPC “could have reduced

the number of cases in China by up to 95%, had [Defendants] fulfilled [their]

obligations under international law and implemented a public health response at an

earlier date.”301 Researchers have confirmed that “the spread of COVID-19 from

Hubei to the rest of China was driven primarily by human mobility from Wuhan.” 302

Much of this “human mobility from Wuhan,” including possibly patient zero in the

United States, was almost certainly driven by Defendants’ repeated, full-throated,

and false denial of both the existence of human-to-human transmissibility of COVID-


299 Id. at 31–32
300 China Didn’t Warn Public of Likely Pandemic for 6 Key Days, Associated Press

(April 15, 2020), https://apnews.com/article/virus-outbreak-health-ap-top-news-
international-news-china-clamps-down-68a9e1b91de4ffc166acd6012d82c2f9.
301 House Comm. On Foreign Affairs Report at 6 (citing Lai, Shengjie, et al., Effect of

Non-Pharmaceutical Interventions for Containing the COVID-19 Outbreak in China,
MedRxiv (2020)).
302 Benjamin Rader, et al., Crowding and the Shape of COVID-19 Epidemics, 26

Nature Medicine 1829 (2020).


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19 and the scope of those infected. As Chinese bioethicists have noted, Defendants’

silencing of doctors and other medical professionals attempting to warn the world

about COVID-19 “impeded early control of the [COVID-19] epidemic.”303 Instead of

complying with their legal and moral obligations to share their knowledge with the

world, Defendants used their unique knowledge, fraudulently rendered secret to the

world through Defendants’ repeated falsehoods and aggressive targeting of

whistleblowers, to secretly hoard much of the world’s supply of PPE before the rest of

the world could act. This is laid bare by both Missouri’s factual demonstrations, see

supra, and the written evidence submitted by Missouri. And Defendants’ actions in

this respect caused significant harm to both the State of Missouri and its citizens.

      As noted above, Missouri is not even the first government conclude that the

PRC, CPC, and other Defendants fraudulently relied on misrepresentation and

falsehoods to obtain commercial advantage in their hoarding of PPE from the United

States. As referenced above, the United States Department of Homeland Security

has already concluded that “the Chinese Government intentionally concealed the

severity of COVID-19 from the international community in early January while it

stockpiled medical supplies.” Furthermore, “China likely delayed informing the WHO

on 20 January 2020, that COVID-19 was a contagion, until after it purchased medical




303 Ruipeng Lei & Renzong Qiu, Chinese Bioethicists: Silencing Doctor Impeded Early

Control  of   Coronavirus,     The    Hastings    Center     (19       Mar.     2020),
www.thehastingscenter.org/coronavirus-doctor-whistleblower/.



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supplies from abroad.”304 Defendants “attempted to hide [their] actions” hoarding

PPE “by denying there were export restrictions and obfuscating and delaying

provision of [PRC] trade data.”305

      This conclusion is buttressed, as noted by the federal government, through

“trade data show[ing] that China likely stockpiled medical supplies for domestic use

before its official notification to the World Health Organization (WHO) that COVID-

19 was contagious.”306 Bulk orders of PPE “generally require two to four weeks to be

delivered”—in other words, orders must be placed approximately a month before the

import numbers reflect increased imports.307 “This means the Chinese Government

would have started mobilizing its purchasing agents and identifying international

suppliers in early January”—if not earlier, in December 2019—“for those purchases

to be reflected in worldwide January export statistics.”308 “Global trade data from

February [also] shows a significant decline in worldwide imports from China of

surgical gloves (48 percent), surgical gowns (71) percent), surgical facemasks (48

percent), medical ventilators (45 percent), intubation kits (56 percent), thermometers

(53 percent), and cotton balls and swabs (58 percent), among others. “[T]he February

worldwide import data likely reflects a January reduction in exports from China as



304 Econ. Sec. Mission Ctr., Dep’t of Homeland Sec., New Analytic Technique Indicates

China Likely Hid Severity of COVID-19 from the International Community While it
Stockpiled Medical Supplies (May 1, 2020), https://www.dhs.gov/sites/default/
files/publications/china_and_covid-19.pdf
305 Ibid.
306 Ibid.
307 Ibid.
308 Ibid.




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cargo typically takes over 30 days to ship via ocean freight.”309 The trade data reveals

that Defendants were affirmatively seeking to profit from their fraud and

misrepresentations, aggressively buying up PPE during the period they were

misrepresenting the scope and transmissibility of COVID-19.

                                    *          *         *

       The   evidence   proffered   by   Missouri   demonstrates     that   Defendants

“singlehandedly ‘t[ook] over factories that ma[d]e masks’ and cornered the market

before the rest of the world realized what was happening.” Missouri ex rel. Bailey, 90

F.4th at 939. “Then, when the virus spread and people all over the world became sick,

[Defendants] w[ere] able to maintain [their] stockpile and prolong the shortage.” Id.

Missouri has provided sufficient evidence, including trade data, government reports,

and statements from both Chinese and American officials, to conclusively establish

each of these allegations. This is precisely what the Eighth Circuit held that Missouri

must prove to satisfy its hoarding claim—that “China leveraged the world’s ignorance

about COVID-19” by “manipulating the worldwide personal-protective-equipment

market” to its benefit. “The most basic supply-and-demand principles tell us that

these market effects depended little, if at all, on variables independent of the

[D]efendants’ conduct given the information asymmetry and tight timeframe that

existed at the time.” Id.; see also id. (citing Ball Memorial Hosp., Inc. v. Mut. Hosp.

Ins. Inc., 784 F.2d 1325, 1336 (7th Cir. 1986) for the prospect “that the ability to

‘control output and prices’ largely depends on the ability of other market players ‘to



309 Ibid.



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increase their own output in response to a contraction by the defendants.’”). Missouri

and its citizens, as “market players[,] simply had no time to respond.” Id.

      As Missouri has demonstrated, Defendants breached multiple duties related

to their anticompetitive and fraudulent behaviors in their hoarding of PPE in the

early days of the pandemic. Missouri, in other words, has carried its minimal burden

to demonstrate Defendants’ liability under the FSIA default standard.

      C.     Defendants’ anticompetitive and deceptive actions directly
             caused serious injury to the State of Missouri and its citizens.

      The COVID-19 pandemic caused a staggering loss of life around the world, as

well as significant economic repercussions still felt to this day. Under-resourced

hospitals and communities suffered from a lack of PPE—exacerbating the pandemic’s

death toll in Missouri and the United States more broadly. Meanwhile, as early as

fall 2019, Defendants prepared themselves for what they understood to be a

catastrophic health emergency by exponentially slashing their PPE exports by

approximately 50% in September of 2019.310 U.S. hospitals correspondingly reported

that critical PPE had gone on backorder by the last months of 2019, leaving the

healthcare industry scrambling when the pandemic reached the U.S.311 By the first

quarter of 2020, Chinese mask export volumes were 12.5% down from the first




310 Ashley Rindsberg, China ’Began Stockpiling PPE Months Before Covid Outbreak,’

The Telegraph (Oct. 8, 2022), https://www.telegraph.co.uk/news/2022/10/08/china-
began-stockpiling-ppe-months-covid-outbreak/.
311 Ibid.; China Began Stockpiling PPE Months Before Notifying World of Covid

Outbreak, Tibetan Review, Oct. 10, 2022, https://www.tibetanreview.net/china-
began-stockpiling-ppe-months-before-notifying-world-of-covid-outbreak/.


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quarter of 2019, and Chinese protective garment exports were 22.1% down.312

Critically, “China’s market power and its superior knowledge about the virus meant

that no one else other than the [D]efendants had to act to create those effects,”

Missouri ex rel. Bailey, 90 F.4th at 939. And Missouri acutely experienced them.

      Tragically, COVID-19 ultimately killed over one million Americans,313 and

resulted in astronomical economic loss. This included 21,621 Missourians who died

from COVID-19 between 2020 to 2022.314 The loss of life in Missouri was nothing

short of “catastrophic,” with COVID-19 as the third leading cause of death in Missouri

in 2020, 2021, and the first quarter of 2022.315

      The pandemic also had great economic effects on Missouri and, indeed, the

entire United States. By one estimate, “as of December 2023, the total cost of the

COVID-19 pandemic in the U.S. had reached $18.007 trillion.”316 With “the total net

value of U.S. wealth in 2022” calculated at “$135.555 trillion,” “the total dollar cost of

the pandemic thus far,” in other words, “is roughly 13 percent of the U.S. wealth.”317

The total value of damages can be calculated from the sum of a number of factors,

with researchers including in calculations of the costs of the COVID-19 pandemic




312 Chad P. Brown, How COVID-19 Medical Supply Shortages Led to Extraordinary

Trade and Industrial Policy, 17 Asian Economic Policy Review 114, 118 (2022), doi:
10.1111/aepr.12359.
313 Centers for Disease Control & Prevention, Provisional COVID-19 Deaths by Sex

and Age (last updated Sept. 2023).
314 Mo. Dep’t Health & Senior Servs., Missouri COVID-19 Mortality 2020-2022 (Nov.

2023), https://health.mo.gov/data/pdf/20202022-covid-deaths.pdf.
315 Ibid.
316 Most Catastrophic Pandemic of Our Time Report at 7.
317 Ibid.



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including factors such as: (1) the loss of life (calculated through the value of a

statistical year of life), totaling $8.625 trillion nationally; (2) lost income, totaling

$1.825 trillion; (3) chronic conditions, totaling $6.026 trillion; (4) mental health

damages, totaling $1.096 trillion; and (5) educational losses, totaling $0.435 trillion.

In other words, the COVID-19 pandemic has inflicted a staggering toll on both the

State of Missouri and the United States as a whole.

      Prior to the COVID-19 pandemic, China played a role as a major supplier of

PPE to both Missouri and the rest of the United States. The Congressional Research

Authority has cited data that, in FY2019, China exported $9.8 billion in medical

supplies to the United States.318 This market power meant that any actions taken by

Defendants to hoard PPE, including both restricting any exports of PPE and buying

up PPE available in the United States, would have a serious, detrimental effect on

Missouri. As a House Foreign Affairs Committee report concluded, it is “highly likely

that China’s nationalization of the manufacturing capacity of foreign companies . . .

directly impacted the ability” to acquire PPE on the open market.319 Or, in the words

of the U.S. Congressional Research Service, PPE hoarding by Defendants “led to

shortages of critical medical supplies in the United States.”320

      Missouri alleged in its complaint “that China bought up much of the rest of the

world’s supply of masks.” Missouri ex rel. Bailey, 90 F.4th at 938. “Those supply




318 Karen M Sutter, et al., Cong. Rsch. Serv., R46304, COVID-19: China Medical

Supply Chains and Broader Trade Issues 15 (Dec. 23, 2020).
319 House Comm. On Foreign Affairs Report at 33.
320 Ibid.



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reductions allegedly led to an immediate shortage in Missouri, which then allowed

the [D]efendants to enter the market and sell lower-quality masks.” Id. The evidence

supports Missouri’s allegations. China is the world’s largest exporter of medical

masks and eye protection.321 When COVID-19 began spreading in China in 2019,

Defendants both restricted PPE exports and purchased much of the global supply.322

This had a devastating effect on the U.S., which is “by far” the world’s largest

importer of masks.323

      The demonstrated effect of these actions, consequently, was that “[h]ealthcare

providers in Missouri” were forced to “pa[y] higher prices for the masks they could

find or dealt with shortages that … made it difficult to safely and effectively treat

patients with the virus.” Missouri ex rel. Bailey, 90 F.4th at 938 (internal quotation

marks omitted). Missouri healthcare workers reported scouring home improvement

and paint stores “to find gloves, masks, and respirators” for on-the-job use and

reusing masks even though “[a]ll FDA-cleared N95 respirators are labeled as ’single

use,’ disposable devices.”324




321 Jennifer Cohen &Yana van der Meulen Rodgers, Contributing Factors to Personal

Protective Equipment Shortages During the COVID-19 Pandemic, 141 Preventative
Medicine 5 (2020), https://doi.org/10.1016/j.ypmed.2020.106263.
322 Id. at 6.
323 Id. at 5.
324 Katie Moore, et al., They’re Scared: Doctors Lack Safety Gear in Fight Against

Coronavirus in KC Region, Kansas City Star (Mar. 29, 2020),
https://www.kansascity.com/news/coronavirus/article241468706.html; see also 95
Respirators, Surgical Masks, Face Masks, and Barrier Face Coverings FDA (Oct. 21,
2024), https://www.fda.gov/medical-devices/personal-protective-equipment-infection-
control/n95-respirators-surgical-masks-face-masks-and-barrier-face-coverings.


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      These effects were strongly felt by healthcare providers all over the state.

Missouri’s official online PPE marketplace reported “[e]normous demand and short

supplies of PPE” in 2020.325 Before the pandemic, CoxHealth, a nonprofit health

system in Springfield, Missouri, used “approximately 40 N95 masks per month.” At

the height of the pandemic, that number “grew up to 1,000 per day,” during a time

when many of its shipments for masks were “being pulled and redirected.”326 Not only

were Missouri health systems like CoxHealth forced to deal with “profiteering

middlemen and counterfeits,” but the price of N95 masks increased by more than a

factor of ten.327 Despite state spending in the tens of millions on PPE,328 the situation

became so dire that Missouri Governor Michael Parson announced an N95 mask

“decontamination system” for health care providers and first responders. These

professionals could drop off their masks for decontamination at thirteen sites

throughout the State. The system permitted a single mask to be decontaminated up

to twenty times.329 This emergency program had to be instituted by the state to

address “the N95 mask shortage” caused by Defendants’ hoarding of PPE.330 The


325 Alex Smith, Coronavirus Safety Gear Leaves Businesses Open to Scams, NPR

(June 24, 2020), https://www.kcur.org/2020-06-24/missouris-online-marketplace-for-
coronavirus-safety-gear-leaves-businesses-vulnerable-to-scams-price-gouging
326 Id.
327 Id.
328 Katie Moore, et al., They’re Scared: Doctors Lack Safety Gear in Fight Against

Coronavirus in KC Region, Kansas City Star (Mar. 29, 2020),
https://www.kansascity.com/news/coronavirus/article241468706.html.
329 Press Release, Mo. Gov. Michael L. Parson, Governor Parson Announces

Deployment of Decontamination System in Missouri to Assist with N95 Mask
Shortage (April 22, 2020), https://governor.mo.gov/press-releases/archive/governor-
parson-announces-deployment-decontamination-system-missouri-assist.
330 Ibid.




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Missouri Hospital Association was compelled to make public requests for “[a]ny PPE

that businesses or individuals have that can be put into the healthcare pipeline” in

effort “to address the COVID-19 crisis in Missouri.”331

      Indeed, the problems of PPE shortages in Missouri between March 2020 and

(at least) December 2020 were so severe and wide-spread that the existence of such

shortages rises to the kind of “‘common knowledge’” or “‘settled, undisputed, things

of life’” which “courts may take judicial notice of.” United States v. Gould, 536 F.2d

216, 218–19 (8th Cir. 1976) (quoting Hughes v. United States, 253 F. 543, 545 (8th

Cir. 1918)); see also Gray v. Texas Co., 75 F.2d 606, 611 (8th Cir. 1935) (judicial notice

may be taken of “the fund of common knowledge of facts and principles which is

possessed by all persons of average intelligence”); Stahl v. United States Dept. of

Agriculture, 327 F.3d 697, 700 (8th Cir. 2003) (“The district court may take judicial

notice of public records.”). The regular, everyday occurrences all people in the State

of Missouri experienced—including the effects of COVID-19 and the existence of mask

shortages—are exactly the kind of “common knowledge” of which courts may take

judicial notice. The legal framework reflects this reality as well. The President issued

a public emergency early in COVID-19’s presence in the United States, recognizing

the threat of COVID-19 and the national importance of “the acquisition of personal

protective equipment.” Pres. Proc. No. 9994, 85 Fed. Reg. 15337, 2020 WL 1272563

(Mar. 13, 2020). The Eighth Circuit, for its part, observed at the height of the COVID-



331Hospital association asks for donation of protective gear, Houston Herald (Mar. 27,

2020), available at https://houstonherald.com/2020/03/hospital-association-asks-for-
donation-of-protective-gear/

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19 pandemic that “personal protective equipment (PPE) for healthcare workers is in

short supply while concerns remain about the demand” for PPE. In re Rutledge, 956

F.3d 1018, 1023 (8th Cir. 2020). Even looking back years later, the Eighth Circuit

concluded that consumers (including consumers in Missouri, where the case in

question originated) were “desperate” at “the beginning of the pandemic” to acquire

PPE. Fed. Trade Comm’n v. Am. Screening, LLC, 105 F.4th 1098, 1103 (8th Cir.

2024).

         Neither could the State of Missouri, its hospitals, or its citizens reasonably

obtain alternative PPE to the equipment hoarded by Defendants without incurring

significant additional costs—if they could obtain the equipment at all. Defendants, of

course, had already by this point nationalized any U.S. factories within PRC borders

that could be reasonably be used to manufacture additional PPE. Although U.S.-

based factories could produce PPE, the existing U.S.-based factories were limited, and

much of those factories’ supplies had already been bought up in Defendants’

campaign to hoard PPE from the American market in the early months of the

pandemic. Indeed, China purchased “more than $17.5 million worth of face masks,

more than $13.6M in surgical garments and more than $27.2M in ventilators” from

American companies January through February 2020.332 As many manufacturing

experts noted, “building new production centers or retrofitting manufacturing plants”



332 Dian Zhang, et al., U.S. Exported Millions in Masks and Ventilators Ahead of the

Coronavirus       Crisis,      USA        Today       (April       2,      2020),
https://www.usatoday.com/story/news/investigations/2020/04/02/us-exports-masks-
ppe-china-surged-early-phase-coronavirus/5109747002/.


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in the United States “would take too long” to provide relief to shortages of necessary

PPE, “even with a massive outlay of public funds.”333 For example, expanding the

“ventilator production industry”—a critical industry at the height of the COVID-19

pandemic—“at best would take a year or longer to do,” and “would probably take 18

months.”334 Accordingly, Missourians had to bear the consequences of China’s actions

by going without PPE, reusing single-use products, or wearing ineffective

alternatives such as cloth masks. Each of these inadequate solutions could not replace

high-quality PPE, which has been shown to have reduced COVID transmission and

deaths.335

      It is readily apparent that Defendants’ actions to hoard PPE directly, and

severely, harmed the State of Missouri and its citizens. China was the world’s largest

supplier of PPE before the pandemic, and its anticompetitive and fraudulent actions

to hoard PPE had a clear effect on both the availability and price of PPE for Missouri

and its citizens. Defendants’ “market power and [their] superior knowledge about the

virus meant that no one else other than defendants had to act to create those effects.”

Missouri ex rel. Bailey, 90 F.4th at 939. Rather, “[t]he most basic supply-and-demand

principles tell us that these market effects depended little, if at all, on variables

independent of the defendants’ conduct given the information asymmetry and tight



333 Dan Lamothe, et al., Making Automakers Churn Out Ventilators Won’t be so Easy,

Manufacturers      and     Former    Officials    Say,      (Mar.    20, 2020),
https://www.washingtonpost.com/business/2020/03/20/making-auto-makers-churn-
out-ventilators-wont-be-so-easy-manufacturers-former-officials-say/.
334 Ibid.
335 Erik Rogenstrom, et al., High-Quality Masks Reduce Covid-19 Infections and

Death in the US, medRxiv (2021).

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timeframe that existed at the time.” Id. (internal quotation marks omitted). And the

injuries Defendants inflicted on the State and its citizens as a result of its actions

were dire.

II.   Missouri suffered direct and catastrophic damages because of
      Defendants’ hoarding of PPE.

      Missouri suffered a direct injuries as a result of China’s PPE hoarding and

provides evidence that more than meets its burden of providing “satisfactory”

evidence under the relaxed standard for an FSIA default hearing. 28 U.S.C. § 1608(e).

The fact that Missouri has satisfied its burden is further buttressed by the nature of

the torts committed by Defendant, which include attempts to obfuscate their own role

in the damage caused. “Where the tort itself is of such a nature as to preclude the

ascertainment of the amount of damages with certainty, it would be a perversion of

fundamental principles of justice to deny all relief to the injured person, and thereby

relieve the wrongdoer from making any amend for his acts.” Story Parchment Co. v.

Paterson Parchment Paper Co., 282 U.S. 555, 563 (1931).          As discussed above,

Defendants have lied about, concealed, and obscured the facts since the discovery of

the COVID-19 virus.      They lied about and concealed its origins.      They buried

information about how the virus spreads. They bought up massive amounts of PPE

before telling the rest of the world about a danger they knew existed. And they

suppressed dissent and forced anyone who even accidently broke from the party line

to retract their statements.

      The evasive behavior continued once this suit was initiated. Defendants tried

to avoid service under the Hague Convention. Once they were served, they failed to


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appear, and the Court had to enter default. As a result, Missouri has been unable

get any discovery from Defendants that a litigant would normally be able to obtain in

order to assist it in proving its claims and ascertaining its damages.             Where

uncertainty in calculating damages is “caused by the defendant’s own wrongful act,”

“justice and sound public policy alike require that he should bear the risk of the

uncertainty thus produced.” Id. at 565.

      A.     Missouri only needs to prove an approximate amount of
             damages, and any risk of uncertainty falls on Defendants as the
             wrongful actors.

      An FSIA plaintiff can obtain a default judgment when “the claimant

establishes his claim or right to relief by evidence satisfactory to the court.” 28 U.S.C.

§ 1608(e). The FSIA also provides that a “foreign state shall be liable in the same

manner and to the same extent as a private individual under like circumstances.” Id.

§ 1606. Construed together, “a FSIA default winner must prove damages ‘in the same

manner and to the same extent’ as any other default winner.” Hill v. Republic of Iraq,

328 F.3d 680, 683–84 (D.C. Cir. 2003).

      Federal Courts, including the Eighth Circuit, look to Story Parchment Co. v.

Paterson Parchment Paper Co., 282 U.S. 555 (1931) for the rule on determining

damages in a cases like this. “Damages ‘may not be determined by mere speculation

or guess,’ but they may be subject to ‘just and reasonable inference, although the

result be only approximate.’” Comcast of Ill. X v. Multi-Vision Elecs., Inc., 491 F.3d

938, 947 (8th Cir. 2007) (quoting Story Parchment, 282 U.S. at 563). That is especially

true when the defendant’s wrongful conduct makes it difficult or impossible to

calculate damages with specificity:

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      Where the tort itself is of such a nature as to preclude the ascertainment of the
      amount of damages with certainty, it would be a perversion of fundamental
      principles of justice to deny all relief to the injured person, and thereby relieve
      the wrongdoer from making any amend for his acts. In such case, while the
      damages may not be determined by mere speculation or guess, it will be enough
      if the evidence show the extent of the damages as a matter of just and
      reasonable inference, although the result be only approximate. The wrongdoer
      is not entitled to complain that they cannot be measured with the exactness
      and precision that would be possible if the case, which he alone is responsible
      for making, were otherwise.

Story Parchment, 282 U.S. at 563.

      The D.C. Circuit has looked to the FSIA’s legislative history to inform its rule

for calculating damages. “The Report of the House Judiciary Committee . . . observed

that “[i]n determining whether the claimant has established his claim or right to

relief, it is expected that courts will take into account the extent to which the

plaintiff’s case depends on appropriate discovery against the foreign state.” Hill, 328

F.3d at 683–84 (quoting H.R. Rep. No. 94–1487, at 26). The D.C. Circuit relied on

that legislative history to impose a “relaxed evidentiary burden on the FSIA plaintiff.”

Id. at 684. A “district court properly could take into account any special problems of

proof arising from the defendant’s absence.” Id. at 685. For damages based on future

consequences, the D.C. Circuit requires “that the projected consequences are

‘reasonably certain’ (i.e., more likely than not) to occur, and must prove the amount

of damages by a ‘reasonable estimate.’” Id. And for “past damages,” the court should

“take into account any special problems of proof arising from the defendant's

absence.” Id.

      That approach is consistent with Eighth Circuit precedent on proving default-

judgment damages. “Once liability has been established, ‘the risk of uncertainty in


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calculating damages falls upon the wrongdoer.’” Comcast of Ill. X, 491 F.3d at 947

(quoting Yonkers Branch—NAACP v. City of Yonkers, 251 F.3d 31, 40 (2d Cir. 2001)).

The Eighth Circuit has even reversed a district court decision to award no damages,

despite the fact that the plaintiff “presented only an unsound global damage theory.”

Martin v. Feilen, 965 F.2d 660, 671 (8th Cir. 1992). Once an injury has been proved,

the district court’s function is “to fashion the remedy best suited to the harm.” Id.

(quoting Garnatz v. Stifel, Nicolaus & Co., 559 F.2d 1357, 1360 (8th Cir. 1977)); see

also Al-Birekdar v. Chrysler Grp., LLC, 499 F. App’x 641, 647 (8th Cir. 2013)

(recognizing “that at times the evidence presented regarding economic damages was

unclear,” but holding that it was sufficient “because the damages need only be

approximate”). The D.C. Circuit has similarly admonished a district court to “confine

itself to the evidence actually presented and not speculate about what other evidence

might have been brought to the court’s attention in a two-sided proceeding.” Hill,

328 F.3d at 685.

      When calculating damages stemming from fraudulent and anticompetitive

behavior, it is helpful to look to how damages are calculated in the antitrust context.

Both here and in the antitrust context, “[t]he vagaries of the marketplace usually

deny [the court] sure knowledge of what plaintiff’s situation would have been in the

absence of the defendant’s” wrongful conduct. J. Truett Payne Co. v. Chrysler Motors

Corp., 451 U.S. 557, 566 (1981) Because of the “difficulty of ascertaining business

damages as compared, for example, to damages resulting from a personal injury or

from condemnation of a parcel of land,” courts are “willing[ ] to accept a degree of



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uncertainty.” Id; see also Zenith Radio Corp. v. Hazeltine Research, Inc., 395 U.S.

100, 123 (1969) (“[D]amage issues in these cases are rarely susceptible of the kind of

concrete, detailed proof of injury which is available in other contexts.”). “Therefore,

in proving the amount of damage, the antitrust plaintiff need only present evidence

from which the fact finder may make a just and reasonable estimate of the damage

that is not based on speculation or guesswork.” Nat’l Farmers’ Org., Inc. v. Assoc.

Milk Producers, Inc., 850 F.2d 1286, 1293 (8th Cir. 1988), amended, 878 F.2d 1118

(8th Cir. 1989). As in other contexts, the “lower standard” for proving damages in the

antitrust context “derives from the principle that a wrongdoer should not profit from

the harm occasioned by its act.” Id. “Any other rule would enable the wrongdoer to

profit by his wrongdoing at the expense of his victim” and “be an inducement to make

wrongdoing so effective and complete in every case as to preclude any recovery, by

rendering the measure of damages uncertain.” Zenith, 395 U.S. at 124. “[T]he more

grievous the wrong done, the less likelihood there would be of a recovery.” Id.

      B.     Missouri has suffered billions of dollars in damages as a result
             of Defendants’ wrongful acts.

      The Eighth Circuit has already acknowledged that, so long as evidence

supports its claims, Missouri suffered an injury “under two theories.” Missouri ex rel.

Bailey v. People’s Republic of China, 90 F.4th 930, 939 n.2 (8th Cir. 2024). First,

Missouri can show an injury “under the parens-patriae doctrine based on the harms

Missourians suffered, including the lack of ‘safe[ ] and effective[ ] treat[ment of]

patients with the virus.’” Id. (citing Alfred L. Snapp & Son, 458 U.S. at 602–07;

Lynch v. Nat’l Prescription Adm’rs, Inc., 787 F.3d 868, 872 (8th Cir. 2015)). Second,


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Missouri can show injury by evidencing “the ‘billions of dollars’ Missouri [itself] lost

in revenue,” which the Eighth Circuit called “a more direct economic injury.” Id.

Missouri now presents evidence and expert testimony establishing damages under

both of those theories.

            i.   Defendants’ actions hoarding PPE caused tens of billions of
                 dollars in damages to Missouri’s economy.

      Dr. Joseph H. Haslag is a Professor and the Kenneth Lay Chair in Economics

at the University of Missouri-Columbia. Dr. Haslag has spent decades teaching and

researching economics, including 12 years in the Research Department at the Federal

Reserve Bank of Dallas and as a visiting scholar at the Federal Reserve Banks of St.

Louis, Kansas City, Atlanta, and Cleveland. His work has been published in many

prestigious academic journals and cited over 1,690 times.

      Missouri has retained Dr. Haslag as an expert in this case, and Dr. Haslag has

prepared an expert report calculating the damages Missouri has suffered from

Defendants’ actions hoarding PPE.336 Dr. Haslag provides two ways of measuring the

economic damages to Missouri. First, he provides evidence of the overall loss to

Missouri’s Gross Domestic Product (“GDP”). Because GDP is all encompassing, and

because it is measured in dollars, GDP is the natural metric for quantifying the total

impact of all-encompassing events like the COVID-19 pandemic.              Dr. Haslag

compares what Missouri’s GDP would have been without the pandemic and

Defendants’ wrongful conduct with what it was and will be in the wake of the



336 Joseph H. Haslag, The Economic Impact of the COVID-19 Pandemic: Quantifying

the Damages to the Missouri Economy

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pandemic. That analysis will show that the spread of COVID-19 in Missouri, an event

directly tied to Defendants’ actions, caused Missouri to lose over $23 billion in GDP

between the first quarter of 2020 and the second quarter of 2023. When those losses

are projected into the future, Missouri will have lost over $500 billion. GDP loss is

an appropriate measure of damages under the parens patriae theory, because it

covers the injury to the Missouri’s “quasi-sovereign interest in the health and well-

being—both physical and economic—of its residents in general.” Lynch, 787 F.3d at

872 (quoting Alfred L. Snapp & Son, 458 U.S. at 607).         Dr. Haslag’s GDP-loss

calculation cannot take into account every possible variable related to the effects of

Defendants‘ actions. But, as the Eighth Circuit already recognized, the “most basic

supply-and-demand principles tell us that these market effects depended little, if at

all, on variables independent of the defendants’ conduct given the information

asymmetry and tight timeframe that existed at the time.” Missouri ex rel. Bailey, 90

F.4th at 939 (internal quotation marks omitted). That evidence is “sufficient to show

the extent of damages as a matter of just and reasonable inference, although the

result be only approximate.” Story Parchment, 282 U.S. at 563.

          ii.   Defendants' actions hoarding PPE caused tens of billions of
                dollars in direct lost revenue to the State of Missouri

      Dr. Haslag’s second measure of damages directly measures the loss of revenue

Missouri suffered as a result of the COVID-19 pandemic. Since Missouri collected 3.1

cents per dollar of its GDP, the measure of lost revenue is straightforward. Lost

revenue between the first quarter of 2020 and the second quarter of 2023 was over

$700 million. And when projected into the future, Missouri will have lost over $15


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billion in revenue. While lost revenue fails to capture the full extent of Defendants

injury to Missouri, it represents direct economic losses suffered by the State.

          iii.   Defendants' actions hoarding PPE injured Missouri through
                 hundreds of millions of dollars in additional direct
                 expenditures by the State on the remaining scarce PPE.

      Finally, the State offers to the Court evidence about Missouri’s direct

expenditures on PPE. During early months of the pandemic, Missouri spent millions

more on PPE than it otherwise would have because of Defendants’ hoarding. One

study by the Society for Healthcare Organization Procurement Professionals

(SHOPP) found that the patient per day cost of PPE when following CDC guidelines

increased by 1,064%.337    Another study found that “PPE prices were significantly

higher during the pandemic compared to prepandemic prices (Figure 1).”338 The

average cost per unit (CPU) for disposable gowns was 7.5 times higher than

prepandemic prices, the average CPU for N95 respirators was 8 times higher, the

CPU for face masks was 9 times higher, and gloves averaged 2.5 times higher than

prepandemic prices.




337 Letter from SHOPP to All Post-Acute Care Provider Advocates (April 7, 2020),

https://cdn.cnn.com/cnn/2020/images/04/16/shopp.covid.ppd.costs.analysis_.pdf.
338 Ria Patel, et al., Cost of personal protective equipment during the first wave of the

coronavirus disease 2019 (COVID-19) pandemic, 44 Infection Control & Hospital
Epidemiology       1897–99       (2023),   https://www.cambridge.org/core/services/aop-
cambridge-core/content/view/F7502E36D8D1785DE772317D11B60966/S0899823X
23001150a.pdf/cost-of-personal-protective-equipment-during-the-first-wave-of-the-
coronavirus-disease-2019-covid-19-pandemic.pdf.

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      China’s PPE hoarding had a controlling impact on the PPE market. China is

“the global leader in producing a vast range of manufactured goods, including

protective face masks, gloves, and gowns,” and “[e]ven with the emergence of other

low-cost exporters, China dominates the global market for PPE exports.”339

“According to U.S. trade data, in 2019 China supplied over 70% of U.S. imports of

textile face masks, 55% of U.S. imports of protective eyewear, and 55% of U.S. imports

of protective garments for surgical and medical use.”340 As the Eighth Circuit already

acknowledged, “China’s market power and its superior knowledge about the virus

meant that no one else other than the defendants had to act to create” the PPE

shortages and price increases. Missouri ex rel. Bailey, 90 F.4th at 939. “The most

basic supply-and-demand principles tell us that these market effects depended little,


339 Jennifer Cohen & Yana van der Meulen Rogers, Contributing factors to personal

protective equipment shortages during the COVID-19 pandemic, 141 Preventative
Medicine (2020), https://pmc.ncbi.nlm.nih.gov/articles/PMC7531934/pdf/main.pdf.
340 Michael H. Cecire, Cong. Rsch. Serv., R46628, COVID-19 and Domestic PPE

Production and Distribution: Issues and Policy Options (Dec. 7, 2020).

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if at all, ‘on variables independent’ of the defendants’ conduct given the information

asymmetry and tight timeframe that existed at the time.” Id.

      Missouri has made some of its spending on COVID-19 expenses publicly

available in a database.341   The database does not begin collecting data until April,

22, 2020—months after the pandemic began. Between April 22, 2020 and December

31, 2020, Missouri spent $122,941,819 on PPE-related expenses.342 Because the line-

item characterization of each expense is not always clear, this number is likely under-

inclusive of the total amount of public funding spent on PPE. Large amounts of

COVID funding was spent by municipalities and schools without specifying what

percentage was spent on PPE, and other expenses are only described as “medical

supplies.” Those line-items were excluded from the calculation. The $122 million

sum includes only items that are clearly related to PPE based on the description in

the database. As such, this $122 million amount represents the bare minimum (if not

less than the bare minimum) the State spent on its PPE during the early days of the

COVID-19 pandemic.

      The Eighth Circuit recently upheld a multimillion dollar damages award

against a domestic PPE manufacture who misrepresented the shipping timeline for

its products during the pandemic. Fed. Trade Comm’n v. Am. Screening, LLC, 105

F.4th 1098, 1102 (8th Cir. 2024). The court held that the PPE manufacturer could be




341 Mo. Accountability Portal, COVID-19 Expenditures (last visited November 22,

2024), https://mapyourtaxes.mo.gov/MAP/Covid19/Expenditures/Agency/
ExpendituresByAgency.aspx
342 See Plaintiff’s Submission of Written Evidence Cited in Brief, pp. 745–96.



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held liable for damages amounting to its entire revenue for products that were not

delivered on the advertised timeline. Id. The PPE manufacturer was forced to “bear

the risk of uncertainty that its deception . . . created, as ‘[t]he most elementary

conceptions of justice and public policy require that the wrongdoer shall bear the risk

of the uncertainty which his own wrong has created.’” Id. at 1105 (quoting Bigelow v.

RKO Radio Pictures, 327 U.S.251, 265 (1946)). For the same reasons, Defendants

should be held accountable for the full amount of the funds spent on PPE expenses

during the early months of the pandemic.

        That said, using Missouri’s direct expenditures on PPE as the measure of

damages fails to capture the true nature of the harm to the state. It covers that fact

that Missouri had to spend millions more dollars on PPE, but it misses the injuries

caused by the PPE that Missouri could not buy. Missouri citizens got sick, missed

work, and died because of the PPE shortage Defendants caused. Missouri businesses

were forced to shut down, and Missouri citizens lost their jobs. The exponential

increase in the price of PPE does not get at the injury to “the safety, health or welfare

of [Missouri’s] citizens.” Lynch, 787 F.3d at 872. Nor does it begin to touch the

“‘billions of dollars’ Missouri lost in revenue, a more direct economic injury.” Missouri

ex rel. Bailey, 90 F.4th at 940.

        The damages Missouri seeks are significant, but they are not based on “mere

speculation or guess.” Hill, 328 F.3d at 684 (quoting Story Parchment, 282 U.S. at

563).    The evidence presented demonstrates that the damages are a just and

reasonable approximation of Missouri’s injuries.        The damages are reasonable



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because they are tied directly to the economic injuries Missouri suffered. The

damages are just because of Defendants should not “profit by [their] wrongdoing at

the expense of [the] victim.” Zenith, 395 U.S. at 124.


                                   CONCLUSION


      As Missouri has demonstrated at length, the PRC, CPC, and other Defendants

engaged in a complex, long-running campaign to hoard PPE from Missouri and its

citizens in the early days of the COVID-19 pandemic. Defendants did this while

aggressively suppressing and misrepresenting their knowledge of the virus, taking

advantage of this fraud and misrepresentation to further Defendants’ goals to hoard

additional PPE. In the course of these actions, Defendants breached numerous duties

related to their anticompetitive behavior, as well as related to their fraud and deceit

in their activities. Defendants actions directly harmed the State of Missouri and its

citizens. Defendants have refused to appear or otherwise answer for their actions,

and each is in default. Missouri has provided sufficient evidence to “satisfactorily”

demonstrate both Defendants’ liabilities and Missouri’s entitlement to damages. As

such, Missouri is entitled to a default judgment against Defendants under the FSIA.

      For the foregoing reasons, Plaintiff the State of Missouri ex rel. Andrew Bailey

respectfully requests that this Court: (1) enter a judgment of liability against all

Defendants on Count IV of Plaintiffs’ Complaint; (2) issue an award of civil damages

against all Defendants in the amount this Court deems fair and appropriate to

remedy the damages suffered by Missouri and its citizens by Defendants’ actions; (3)

order that Defendants pay prejudgment and postjudgment interest on every amount


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of damages awarded by this court; and (4) award such further relief as the Court

deems just and appropriate.



Date: November 22, 2024                         Respectfully submitted,


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                           CERTIFICATE OF SERVICE


      I hereby certify that on November 22, 2024, a true and accurate copy of the

foregoing was electronically filed by using the Court’s CM/ECF system to be served

on all counsel of record entered in the case.

                                                             /s/ Samuel C. Freedlund




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